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      STATE OF MISSOURI


      vs.                                       ED100807



      JEFFREY WEINHAUS




                                     VOLUME 3
             BEFORE THE HONORABLE JUDGE KEITH SUTHERLAND
                      TRANSCRIPT OF TRIAL TESTIMONY
                          TAKEN OCTOBER 10TH,
                                        10TH, 2013




                     REPORTED BY KIM WROCKLAGE, CCR




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  1            IN THE CIRCUIT COURT OF FRANKLIN COUNTY
  2                           STATE OF MISSOURI
  3
  4   STATE OF MISSOURI,
  5                     PLAINTIFF,                   ED100807
  6   vs.                                 No. 12AB-CR02409-01
  7   JEFFREY WEINHAUS,
  8                       DEFENDANT.
  9
10                  Volume 3, Trial Testimony taken at the
11    Franklin County Justice Center, 401 E. Main Street,
12    Union, in the County of Franklin, State of Missouri,
13    on the 10th day of October, 2013, before Kim
14    Wrocklage, CCR.
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  1               JUDGE SUTHERLAND:           Please be seated.       Ready
  2    for evidence for the defendant.                 Call your first
  3    witness.
  4               MR. EASTWOOD:        Yes, Your Honor, I'm ready to
  5    call my first witness.
  6               JUDGE SUTHERLAND:           Sir, if you come on up
  7    front, up here, sir, raise your right hand and be
  8    sworn by the clerk, please.
  9               (WHEREUPON MARTY LEACH WAS SWORN IN)
 10               JUDGE SUTHERLAND:           Before you start your
 11    direct examination, Mr. Eastwood, I neglected to
 12    make the announcement to the jury that I should
 13    have.     After you left yesterday afternoon, there was
 14    what's called a Motion for Judgment of Acquittal
 15    that was filed, and I did grant that motion and
 16    acquit the defendant on Count 2, the tampering with
 17    a judicial officer charge, and Count 8, the
 18    resisting arrest charge.             So those two counts are no
 19    longer an issue in the case.                  It's not appropriate
 20    for me to explain why right now.                 When the case is
 21    all over with, I'll come back to the jury room and
 22    be glad to talk to you about it, explain it to you
 23    and answer any questions that you may have, but for
 24    right now we're down from eight counts to six.                    I
 25    just don't want you to be confused later on when you
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  1    get the instructions because there will be nothing
  2    in the instructions about Count 2 or Count 8.
  3    Proceed with your examination.
  4                 DIRECT EXAMINATION OF MARTY LEACH
  5    QUESTIONS BY MR. EASTWOOD:
  6         Q     Thank you very much, Your Honor.               Mr. Leach,
  7    Marty, what would you prefer I call you?
  8         A     Marty is fine.
  9         Q     Marty, could you please introduce yourself
 10    to the jury.       State your name.
 11         A     Martin Junior Leach.               How are you all doing
 12    today.
 13         Q     Where do you live, Marty?
 14         A     4079 Yellow Dog Road.
 15         Q     Where is that?
 16         A     Lonedell, Missouri.
 17         Q     Is that here in Franklin County?
 18         A     Yes, it is.
 19         Q     How long have you been a member of this
 20    community?
 21         A     About 18 years.
 22         Q     And what do you do for a living, sir?
 23         A     I'm a laborer.
 24         Q     Are you familiar with the MFA gas station on
 25    Highway K in St. Clair?
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  1         A     Yes, I am.
  2         Q     Are you a regular there?
  3         A     Yes, I am.
  4         Q     Were you there on September 11th, 2012?
  5         A     Yes, I was.
  6         Q     And why were you there, sir?
  7         A     To replace a gutter that I tore up
  8    previously when I pulled in the parking lot.
  9         Q     When did you tear it up?
 10         A     About two weeks before the shooting.
 11         Q     Why did you decide to repair it instead
 12    of --
 13         A     Because it was -- I tore it up, it was my
 14    responsibility to take care of it.               I tore it up
 15    with the top of a dump truck.
 16         Q     Were you there with anyone?
 17         A     Yeah.
 18         Q     Who were you there with?
 19         A     My coworker, Steve Everhart.
 20         Q     Do you know Steve well?
 21         A     Yes, worked with him about 11 years now.
 22         Q     Are you friends as well as coworkers?
 23         A     Yes.
 24         Q     Now I want to show you a diagram, sir, and
 25    I'm going to ask you some questions. Sir, this is a
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  1    diagram of the MFA station.               This is the MFA sign.
  2    This is Highway K along there.                I want everyone to
  3    be able to see it.         This is Highway K along there.
  4    This is the MFA building.              This is the gas pump.
  5    Where on this diagram was the gutter?
  6         A     That piece of overhang that sticks out to
  7    the left of the gas pumps, at the outer edge right
  8    there.
  9         Q     Before September 11th of last year, did you
 10    know Jeff Weinhaus, the defendant?
 11         A     No, sir.
 12         Q     When you arrived at the gas station on
 13    September 11th, did you notice anything unusual?
 14         A     Well, there was a vehicle parked at the end
 15    of that overhang that we had to ask to move.
 16         Q     I want to slow down, okay?
 17         A     Okay.
 18         Q     Do you mean the vehicle was parked here?
 19         A     It was parked right at the back edge of it.
 20         Q     Right here?
 21         A     Right in that area, yes.
 22         Q     Did you notice anything else?
 23         A     No, nothing in particular.            When we pulled
 24    in the parking lot, I was coming from St. Clair.                     I
 25    had to swing wide with the truck that I was driving,
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  1    so I swung wide in the parking lot to get parallel
  2    with the building in between the gas pump and the
  3    building.
  4         Q     Were there other people or cars in the
  5    parking lot?
  6         A     Not at the time we arrived.             There was
  7    another vehicle parked back over this way, but I
  8    don't have no idea who it was.
  9         Q     Down here?
 10         A     Yeah, towards that general area.
 11         Q     What type of automobile?
 12         A     It was an automobile, I didn't pay much
 13    attention because I had no reason to.
 14         Q     Were you able to start working on the gutter
 15    when you arrived?
 16         A     No.
 17         Q     Why was that?
 18         A     Because the vehicle that was parked down at
 19    the edge was sticking out past the edge of the
 20    overhang, and we had to ask him to move because we
 21    were going to work off the back of the truck.                   We
 22    didn't have ladders, we were going to get on the
 23    back of the flat-bed and work off of that.
 24         Q     Did you know who was in that car?
 25         A     No.
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  1         Q     Did you go into the gas station building and
  2    talk to anyone inside the store?
  3         A     Not until afterwards.
  4         Q     Did you notice any customers going in and
  5    out?
  6         A     The one person in that vehicle that I
  7    mentioned parked over this way, he walked out.
  8         Q     Did you ask the driver of the car to move?
  9         A     No, I didn't.        My partner that was with me
 10    Steve did.
 11         Q     Did you hear that conversation?
 12         A     No, but I could see him.            The driver of the
 13    automobile rolled down the window approximately a
 14    couple inches, and I could see Steve with his hands
 15    motioning explaining to the guy would you back up so
 16    we can work on the gutter.
 17         Q     Did the driver respond to you?
 18         A     Not to me, to Steve, I'm assuming he did to
 19    Steve because the guy did start to move his vehicle.
 20         Q     How much did he move it?
 21         A     He backed it up 10, 12 feet and swung out
 22    this way out towards the front and pulled forward a
 23    little bit and stopped.
 24         Q     Is this car here a fair representation of
 25    where he moved to?
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  1         A     Pretty close, yeah.
  2         Q     Did you see Jeff Weinhaus pull into the
  3    parking lot?
  4         A     No.
  5         Q     Did you hear Jeff Weinhaus pull into the
  6    parking lot?
  7         A     No.
  8         Q     Did you hear a car engine revving or
  9    accelerating?
 10         A     No.
 11         Q     Did you notice Jeff Weinhaus getting out of
 12    his car?
 13         A     No.
 14         Q     At any point did anything direct your
 15    attention to Jeff Weinhaus?
 16         A     No, the shooting.
 17         Q     Okay.     So tell me about that.          What
 18    happened?
 19         A     Well, I was standing between -- on the
 20    driver's side of the truck and Steve was up in the
 21    back of the truck handing me out stuff laying in the
 22    back of the truck so we could get up in it and work
 23    without stomping all over it, and he handed me the
 24    first piece of gutter, I sat it down on the ground,
 25    went up to get the second piece of gutter, set it
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  1    down on the ground, and as I was turning around is
  2    when I heard the first shot.                  I turned to my right
  3    and there was Mr. Weinhaus.
  4         Q     Stop there.       So you heard a shot, you turned
  5    and you looked at Mr. Weinhaus.                 What did you see?
  6         A     Mr. Weinhaus was facing me falling.
  7         Q     So you were over here?
  8         A     Yes.
  9         Q     And Mr. Weinhaus, where was he?
 10         A     From the front, from the gas pumps he was
 11    towards you.
 12         Q     Up over here?
 13         A     Yeah, in that area except towards the right.
 14         Q     And was he facing you or was his back to
 15    you?
 16         A     He was facing me when I made eye contact or
 17    contact with him.
 18         Q     He was facing towards you?
 19         A     Yes.
 20         Q     Did you see Jeff's arms and his hands?
 21         A     No.    Oh, yes, I saw his arms and his hands.
 22         Q     What were they doing?
 23         A     Hanging down to his side.
 24         Q     Did you see a gun in Jeff's hand?
 25         A     No.
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  1         Q     Did you see Jeff's hand on a gun?
  2         A     No.
  3         Q     What happened next once you turned around
  4    and saw Jeff Weinhaus looking at you?
  5         A     Jeff was falling towards me.             After the
  6    first shot there was a hesitation and there were
  7    three more shots, and it was boom, boom, boom, boom
  8    as he was falling and he hit the ground, shooting
  9    was over.
 10         Q     Are you saying the shots happened as he was
 11    facing towards you, facing that way?
 12         A     After the first shot, yes.
 13         Q     Where were the shooters relative to Jeff?
 14         A     As Jeff was falling, the officer that was
 15    doing the shooting come into my view somewhere after
 16    the second shot I'm assuming, somewhere in that
 17    general area, and he was standing -- Jeff was
 18    between me and the officer who was shooting.
 19         Q     So the officer was passed Jeff?
 20         A     Yeah, behind Jeff.
 21         Q     Jeff was between you and the officer?
 22         A     Yes.
 23         Q     Did you see Jeff fall?
 24         A     Yes.
 25         Q     How did he fall?
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  1         A     Fell stiff legged and hit the ground.                First
  2    thing that hit the ground was his face.
  3         Q     Were you in the line of fire of the shooter?
  4         A     Yes.
  5         Q     Were you looking down the barrel of the gun?
  6         A     Yes.
  7         Q     Do you know, did you know at that time who
  8    the shooter was?
  9         A     No.
 10         Q     Were you fearful for your safety?
 11         A     Yeah, everything happened so fast I guess I
 12    got fearful for my safety after everything happened.
 13    I didn't have enough sense to get out of the way.
 14         Q     After Jeff Weinhaus fell to the ground, what
 15    did the shooter do next?
 16         A     The shooter holstered his weapon.
 17         Q     And then what did he do?
 18         A     Nothing basically, nothing, he holstered his
 19    weapon immediately afterwards and the other two
 20    agents that were down in this car that we asked to
 21    move, that's when they come running passed us.
 22         Q     This car down here?
 23         A     Yeah, yes, sir.
 24         Q     Did those agents say anything to you?
 25         A     No, sir.
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  1         Q     Did you see the shooter or anyone else do
  2    anything to Jeff?
  3         A     Yeah, a short time after he was on the
  4    ground, I looked over and the officer that did the
  5    shooting was letting go of Jeff's arm, that's when
  6    he rolled back over on his back, and that's when I
  7    seen a holster appear on the ground.
  8         Q     Where was the holster relative to Jeff's
  9    body?
 10         A     10 or 12 feet away from him to my right.
 11         Q     At any time did any of the men identify
 12    themselves as law enforcement?
 13         A     After the second time I asked them.
 14         Q     You asked them?
 15         A     Yeah.
 16         Q     And what did they say?
 17         A     They said, "yes, we're police officers."
 18    One of the agents that was in the red car that we
 19    asked to move when we pulled in the parking lot is
 20    the one that identified them.
 21         Q     Did you see anything that justified the
 22    shooting?
 23         A     No, sir.
 24               MR. PARKS:      Objection, Your Honor, calls for
 25    speculation.
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  1               JUDGE SUTHERLAND:           Sustained.
  2         Q     (By Mr. Eastwood) Withdrawn.             Has the
  3    incident affected how much you trust law
  4    enforcement?
  5               MR. PARKS:      Objection.
  6               JUDGE SUTHERLAND:           Sustained.
  7         Q     (By Mr. Eastwood) Do you fear retribution
  8    for giving your testimony?
  9               MR. PARKS:      Objection.
 10               JUDGE SUTHERLAND:           Sustained.
 11         Q     (By Mr. Eastwood) Do you have any stake in
 12    the outcome?
 13         A     No.
 14         Q     Do you have anything to win?
 15         A     No.
 16         Q     Anything to lose?
 17         A     No.
 18               MR. EASTWOOD:        Thank you very much.
 19               JUDGE SUTHERLAND:           Cross examination.
 20                  CROSS EXAMINATION OF MARTY LEACH
 21    QUESTIONS BY MR. PARKS:
 22         Q     Now Mr. Leach, on the day of this incident,
 23    do you remember making a statement to an officer --
 24         A     Yes.
 25         Q     -- about what happened?
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  1         A     Yes, sir.      I believe it was a St. Clair
  2    officer.
  3         Q     That is correct.          And I'm going to show you
  4    what has been marked as State's Exhibit No. 32.
  5         A     Okay.
  6         Q     Do you recognize this as the statement that
  7    you gave to the officer?
  8         A     Yes, sir, that's my writing.
  9         Q     Could you please read that for the Court.
 10         A     "Standing in parking lot facing away from
 11    officers and person that got shot, heard five or six
 12    shots, quick shots, turned around, seen man facing
 13    me going down to ground.             Officers behind him."
 14    Can't read my own writing.               "Facing me guns drawn."
 15         Q     And is that a fair and accurate statement --
 16         A     Uh-huh.
 17         Q     -- of what happened that day?
 18         A     Yes.
 19               MR. PARKS:      No further questions, Your
 20    Honor.
 21               JUDGE SUTHERLAND:           Any redirect?
 22               MR. EASTWOOD:        Can I see that statement
 23    again, Bob?       No, Your Honor.
 24               MR. PARKS:      State would ask that State's
 25    Exhibit No. 32 be admitted into evidence.
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  1               MR. EASTWOOD:        I object.
  2                      (BENCH CONFERENCE BEGINS)
  3               JUDGE SUTHERLAND:           On what grounds?
  4               MR. EASTWOOD:        I think his testimony is the
  5    best evidence.        I don't see that this impeached
  6    anything.      I don't know what this goes to.
  7               MR. PARKS:      It's just a written statement
  8    that he gave to the officer on the day of the
  9    shooting, and it's different than what he's saying
 10    here now.
 11               MR. EASTWOOD:        I don't see how it's
 12    different except as to the number of shots.                   He said
 13    four more shots, here he says five or six.
 14               MR. PARKS:      He said in direct examination
 15    that he heard a shot, turned around and he heard
 16    four or five more shots.             He says in this statement
 17    the person got shot, heard five or six shots, turned
 18    around.     So here he's saying he's hearing -- in the
 19    statement he's saying he hears five or six shots, on
 20    the witness stand he's saying he heard the shots
 21    later, so it's a contradiction of what he said.
 22                        (BENCH CONFERENCE ENDS)
 23               JUDGE SUTHERLAND:           Objection is overruled.
 24    It's been marked, State's Exhibit 32 is admitted.
 25               MR. EASTWOOD: May I redirect?
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  1               JUDGE SUTHERLAND:           Yes.
  2                REDIRECT EXAMINATION OF MARTY LEACH
  3    QUESTIONS BY MR. EASTWOOD:
  4         Q     Marty, did I meet with you last month?
  5         A     Excuse me?
  6         Q     Did I meet with you last month, sir?
  7         A     Yes, sir.
  8         Q     And did I meet with you with the private
  9    investigator?
 10         A     Yes, sir.
 11         Q     And we met you out at McDonalds by Six
 12    Flags; right?
 13         A     Yes, sir.
 14         Q     And did you make a statement to me at that
 15    time?
 16         A     Yes, sir.
 17         Q     And did you make it in writing?
 18         A     Yes, sir.
 19         Q     And is this the statement you made to me?
 20               MR. PARKS:      Your Honor, I object to this
 21    statement at this time.            It's improper recross or
 22    redirect examination because it was never brought up
 23    in his direct examination.
 24               JUDGE SUTHERLAND:           Yeah, objection is
 25    sustained.
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  1               MR. EASTWOOD:        Your Honor, may I approach?
  2               JUDGE SUTHERLAND:           Yes.
  3                      (BENCH CONFERENCE BEGINS)
  4               MR. EASTWOOD:        May I make an offer of proof
  5    on this later on, please, sir?
  6               JUDGE SUTHERLAND:           Well, I don't know that
  7    that's necessary.         I think I'm going to change my
  8    mind.
  9                        (BENCH CONFERENCE ENDS)
 10               JUDGE SUTHERLAND:           Let's mark it, I am going
 11    to admit it.       I'm going to change my mind, the
 12    objection is overruled.            Mark that as Defendant's
 13    Exhibit B and it is admitted.
 14                   (MARKED DEFENDANT'S EXHIBIT B)
 15         Q     (By Mr. Eastwood) So when I met with you at
 16    the McDonalds by Six Flags, I think it was in early
 17    September, you and I spoke; right?
 18         A     Yes.
 19         Q     And you -- I wrote down what you were
 20    saying; right?
 21         A     Yes.
 22         Q     And there was another man there; right?
 23         A     Yes.
 24         Q     And he notarized it?
 25         A     Yes.
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  1         Q     And do you want to review that statement
  2    real quick?
  3         A     Do you want me to read this?
  4         Q     Don't read it out loud, read it to yourself.
  5         A     Okay.
  6         Q     Are you changing anything in that statement?
  7         A     No.
  8         Q     Stand by it?
  9         A     Yes.
 10         Q     Is that statement consistent with what you
 11    told this jury here today?
 12         A     Yes.
 13               MR. EASTWOOD:        Thank you, sir.        No further
 14    questions.
 15               JUDGE SUTHERLAND:           Recross.
 16                RECROSS EXAMINATION OF MARTY LEACH
 17    QUESTIONS BY MR. PARKS:
 18         Q     But this statement is not what you told the
 19    police on the day of the shooting, is it?
 20         A     Yeah, pretty much.
 21         Q     Let me go back.         In the statement that you
 22    gave to the police, which you read for the jury.
 23         A     Yes.
 24         Q     You said, "the person got shot, heard five
 25    or six quick shots, I turned around, seen man facing
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  1    me going down."        So when the day of the shooting you
  2    told the police that you didn't see anything until
  3    after the shots and that's when you turned around
  4    and saw the defendant falling.                That's what you told
  5    the police on the day of the shooting; correct?
  6         A     If that's the way it's worded, I guess I
  7    did, but as I was turning around to set the second
  8    piece of guttering on the ground is when I turned to
  9    look.
 10         Q     I'm just asking you, is that the statement
 11    you gave to the police?
 12         A     Yes, that's my writing.
 13         Q     When did the fire trucks arrive?
 14         A     Fire trucks?
 15         Q     When did the fire trucks arrive?
 16         A     I didn't see any fire trucks.             Fire trucks?
 17         Q     Fire trucks.
 18         A     Like pumper trucks?
 19         Q     Did you see an ambulance arrive?
 20         A     Yes.
 21         Q     Did the fire trucks --
 22               MR. EASTWOOD:        I object to the line of
 23    questioning as beyond the scope of the direct.
 24               JUDGE SUTHERLAND:           Overruled.    Go ahead.
 25         Q     (By Mr. Parks) You never saw the fire
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  1    trucks?
  2         A     Fire trucks like pumper trucks?
  3         Q     The emergency vehicles.
  4         A     Yeah, I seen an ambulance.
  5         Q     Did you see the fire trucks come in before
  6    then?
  7         A     No.
  8               MR. PARKS:      Thank you very much.
  9               THE WITNESS:       I never seen any fire trucks.
 10               JUDGE SUTHERLAND:           Further redirect.
 11             FURTHER DIRECT EXAMINATION OF MARTY LEACH
 12    QUESTIONS BY MR. EASTWOOD:
 13         Q     Marty, did you hear gunshots on September
 14    11th?
 15         A     Yes.
 16         Q     Did you turn around?
 17         A     Yes.
 18         Q     Did you see Jeff Weinhaus staring at you?
 19         A     Yes.
 20         Q     Did you see his hands out?
 21         A     Yes.
 22         Q     Did you see a gun in those hands?
 23         A     No.
 24         Q     Did you hear more gunshots?
 25         A     Yes.
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  1         Q     Did you see him fall flat on his face?
  2         A     Yes.
  3               MR. EASTWOOD:        Thank you, sir.
  4               JUDGE SUTHERLAND:           May this witness be
  5    finally excused?
  6               MR. PARKS:      As far as the State is
  7    concerned.
  8               MR. EASTWOOD:        Yes, Your Honor.
  9               JUDGE SUTHERLAND:           You may step down and
 10    you're free to go.         Call your next witness.
 11               MR. COMBS:      We're going to call
 12    Mr. Everhart, Steve Everhart.
 13             (WHEREUPON STEVE EVERHART WAS SWORN IN)
 14               DIRECT EXAMINATION OF STEVE EVERHART
 15    QUESTIONS BY MR. COMBS:
 16         Q     Good morning, Mr. Everhart.
 17         A     Good morning.
 18         Q     Could you please speak up so the jury can
 19    hear you.
 20         A     Sure.
 21         Q     Do you want to introduce yourself to the
 22    jury?
 23         A     Steve Everhart.
 24         Q     And Mr. Everhart, where do you live?
 25         A     Franklin County.
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  1         Q     You live in Franklin County?
  2         A     Yes.
  3         Q     What do you do for a living?
  4         A     Small excavating, Bobcat work, stuff like
  5    that.
  6         Q     How long have you been a member of this
  7    community and lived in Franklin County?
  8         A     Since '82.
  9         Q     And are you familiar with the MFA gas
 10    station?
 11         A     Yes.
 12         Q     On Highway K in St. Clair?
 13         A     Yes.
 14         Q     And are you a regular or do you frequent the
 15    store beyond the work you were doing there that
 16    day --
 17         A     Sure, yes.
 18         Q     -- of the incident.            And you just go there
 19    as a customer to get gas?
 20         A     Yes.
 21         Q     And on September 11th of 2012, why were you
 22    there at the MFA gas station?
 23         A     To repair a gutter.
 24         Q     And who were you there with?
 25         A     With Marty Leach.
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  1         Q     And do you guys typically do jobs together?
  2         A     Yeah, we've been working together for the
  3    last 10 years.
  4         Q     So would it be fair to say he's a friend of
  5    yours?
  6         A     Yes, sure.
  7         Q     And can you show me, does this look like a
  8    fair depiction of the gas station that you were at
  9    that day, September 11th, 2012?
 10         A     Yes, it does.
 11         Q     And could you give me an idea, this is the
 12    building obviously, where the gutter was that you
 13    all were repairing?
 14         A     The green extension in the front, the porch.
 15         Q     Right here?
 16         A     No, on the overhang, there you go.
 17         Q     And why were you repairing the gutter?
 18         A     I believe Marty bumped into it with a truck
 19    before, days before.
 20         Q     Sure, so you were there to fix it?
 21         A     Yeah, he asked me to give him a hand, so I
 22    went to give him a hand.
 23         Q     And before that day, the day of the
 24    incident, the reason we're all here today, did you
 25    know Mr. Weinhaus?
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  1         A     No.
  2         Q     You never seen him before or met him before?
  3         A     No.
  4         Q     And when you arrived that day to repair the
  5    gutter, did you notice anything unusual?                  You said
  6    you'd been there before as a customer, so you're
  7    familiar with what it's like to go in there?
  8         A     No, nothing unusual.               There was one vehicle
  9    parked in our line of work there.
 10         Q     And can you give me an idea on the diagram
 11    where it was parked, is this the vehicle, roughly?
 12         A     Probably a little closer out to the four
 13    dots on the edge of the overhang there.
 14         Q     And were you able to start working
 15    immediately to repair the gutter when you first
 16    arrived?
 17         A     No, we waited in the truck because the
 18    vehicle was in our way to where we were going to
 19    work out of the back of the truck, so I got out to
 20    ask them to move, and they were kind of reluctant
 21    and backed up just a little bit, just far enough for
 22    us to get in there, so we kind of squeezed in there
 23    and got the truck where we needed it.                 So I got out,
 24    jumped in the back of the truck and started handing
 25    parts out to Marty, and then behind me I heard
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  1    shooting.
  2         Q     Let's back up.         So why would you say -- you
  3    used the word reluctant.             What makes you think they
  4    were reluctant to move, could you explain that a
  5    little further?
  6         A     I knocked on the window of the car, and the
  7    window come down.         I couldn't see in there, it
  8    didn't come down but a couple of inches.
  9         Q     And what did you say?
 10         A     I said, "we're trying to repair this gutter,
 11    could I get you to back up 10 feet."                And the car
 12    moved back a few feet, not quite far enough to get
 13    what we needed.        I didn't think much of it, so I
 14    pulled Marty up close to the front of their car and
 15    got him backed in.
 16         Q     Did the gentleman in the car say sure?
 17         A     Didn't say anything.
 18         Q     Just rolled the window back up and pulled
 19    back.     Is there anything unusual about this car
 20    beyond the fact that the gentleman just rolled the
 21    window down a crack, didn't say anything to you and
 22    slowly moved back?
 23         A     I wasn't -- didn't really recognize anything
 24    unusual.      It was just a car with tinted windows,
 25    couldn't really see in.
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  1         Q     You just thought maybe the guy was being
  2    rude or something like that?
  3         A     Yeah.
  4         Q     And did you notice what was going on in the
  5    parking lot when you were there to repair the
  6    gutter, did you see delivery men or customers or was
  7    the store opened?
  8         A     Yes, the store was open.
  9         Q     Was there anyone getting gas or do you
 10    remember?
 11         A     Not that I recall.
 12         Q     So I'm going to turn your attention to the
 13    day of the incident.          You said you never seen or met
 14    Mr. Weinhaus before.          Did you hear him pull into the
 15    parking lot?
 16         A     No, I didn't.
 17         Q     Did you hear any screeching tires or revving
 18    engines or anything?
 19         A     No, nothing caught my attention.
 20         Q     Did you notice him get out of his car?
 21         A     No.
 22         Q     Did anything direct you to -- direct your
 23    attention to Mr. Weinhaus?               Did you hear any loud
 24    talking or any sort of interaction or conversation
 25    that would direct your attention to Mr. Weinhaus?
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  1         A     I didn't hear anything that caught my
  2    attention.
  3         Q     So what was the first thing that caught your
  4    attention?
  5         A     Gunshots.
  6         Q     And when you heard the gunshots, what did
  7    you do?
  8         A     Well, I had a piece of gutter in my hand,
  9    Marty was on the ground and I was handing stuff to
 10    him, and when the gunshots happened, I started
 11    looking around, and Marty, his hands dropped, so I
 12    had to take what I had and put it back in the truck.
 13    And I looked all around, and when I looked to my
 14    left it was already over.
 15         Q     So when you turned around, Mr. Weinhaus
 16    was --
 17         A     -- on the ground.
 18         Q     And how many shots did you hear?
 19         A     Probably four or five.
 20         Q     So by the time you turned around and saw
 21    Mr. Weinhaus, he was already on the ground?
 22         A     Yes.
 23         Q     Was he motionless?
 24         A     Yeah, motionless.
 25         Q     So you didn't see Mr. Weinhaus until he was
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  1    on the ground entirely motionless?
  2         A     Correct.
  3         Q     And what happened to Mr. Weinhaus, you
  4    didn't see him fall or anything, when you saw him he
  5    was on the ground?
  6         A     Right.
  7         Q     So were you scared at this point?
  8               MR. PARKS:      Objection, Your Honor, calls for
  9    speculation as to relevance.
 10               JUDGE SUTHERLAND:           Overruled.    He can
 11    answer.
 12         Q     (By Mr. Combs) Were you nervous or scared at
 13    this point?
 14         A     Yeah, a little, a little concerned wondering
 15    what was happening.
 16         Q     Of course.      And what happened to
 17    Mr. Weinhaus after he was on the ground.                  I'm sure
 18    you turned, obviously your attention has now been
 19    directed to Mr. Weinhaus on the ground; correct?
 20         A     Well, for a second and because there were
 21    shots fired and someone just got shot, I got out of
 22    the truck, didn't know if I was going to have to
 23    take cover, or I didn't know what was going on but
 24    when I got out of the truck, Marty started asking if
 25    they were police or whatever and then the girl come
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  1    out of the store that worked at the store and she
  2    was totally hysterical, so I tried to calm her down.
  3         Q     So did you know who fired the gun, did you
  4    see the shooter?
  5         A     No.
  6         Q     So you don't know who fired the gun?
  7         A     No.
  8         Q     Did you see any of the people involved in
  9    the altercation do anything to the defendant when he
 10    was lying on the ground?
 11         A     No.
 12         Q     So they weren't standing around him?
 13         A     They were just standing there, two guys
 14    standing there and he was on the ground.
 15         Q     To your knowledge of first aid or medical,
 16    were they trying to help him did it appear?
 17         A     Not that I seen.
 18         Q     They were just standing there essentially?
 19         A     Like I said, it kind of got really crazy
 20    there real fast with the girl coming out of the
 21    store.
 22         Q     So you didn't -- obviously this happened,
 23    I'm sure, in a blink of an eye when you were there?
 24         A     Right.
 25         Q     Did you know who these men were that were
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  1    standing around this motionless body in the parking
  2    lot?
  3         A     No.
  4         Q     So did you think they were law enforcement
  5    or what were you thinking at this point?
  6         A     It happened so fast, I really didn't have
  7    time to think about it until my friend Marty asked
  8    them if they were police, and then it just kind of
  9    all fell together like that.
 10         Q     So you eventually found out they were law
 11    enforcement?
 12         A     Yeah.
 13         Q     And just lastly, you testified here today
 14    that you never met Mr. Weinhaus before?
 15         A     Correct.
 16         Q     And you don't have any outcome or stake in
 17    this case, you're not going to get any money, you're
 18    not here to help out Mr. Weinhaus?
 19         A     No.
 20         Q     You're not going to gain anything or lose
 21    anything no matter what happens in this case?
 22         A     Nope.
 23         Q     You're just here to tell what you saw?
 24         A     Yeah.
 25               MR. COMBS: Thank you, sir. Your witness.
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  1               JUDGE SUTHERLAND:           Cross.
  2                CROSS EXAMINATION OF STEVE EVERHART
  3    QUESTIONS BY MR. PARKS:
  4         Q     Mr. Everhart, do you remember giving a
  5    statement to the police the day of the shooting?
  6         A     Yes, sir.
  7         Q     And I show you what has been marked as
  8    State's Exhibit No. 33.            Do you recognize this as
  9    your statement?
 10         A     Yes, sir.
 11         Q     And do you stand by this statement here
 12    today?
 13         A     Yes, sir.
 14               MR. PARKS:      Your Honor, I'd ask that State's
 15    Exhibit No. 33 be admitted into evidence.
 16                      (BENCH CONFERENCE BEGINS)
 17               MR. EASTWOOD:        This is the same issue.           Are
 18    you going to argue it's inconsistent?                I don't think
 19    it is inconsistent, so I'm not sure --
 20               MR. COMBS:      It's not inconsistent.
 21               MR. PARKS:      It's the statement that he gave
 22    at the scene, and I want to show that it is
 23    consistent with what he's saying and inconsistent
 24    with what the last witness said.
 25               MR. COMBS: Two different people that said
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  1    two different things that saw two different things,
  2    that happens.
  3               JUDGE SUTHERLAND:           Well, it doesn't really
  4    impeach anything.
  5                        (BENCH CONFERENCE ENDS)
  6               JUDGE SUTHERLAND:           Objection is sustained.
  7    State's Exhibit 33 is denied.
  8         Q     (By Mr. Parks) Mr. Everhart, do you remember
  9    seeing the St. Clair fire and rescue truck pull in
 10    from the fire department?
 11         A     I didn't see it pull in.
 12         Q     But you saw it there?
 13         A     Yeah.
 14         Q     Was it there before or after the ambulance?
 15         A     I really don't know.
 16               MR. PARKS:      Thank you.         No further
 17    questions.
 18               JUDGE SUTHERLAND:           Redirect.
 19              REDIRECT EXAMINATION OF STEVE EVERHART
 20    QUESTIONS BY MR. COMBS:
 21         Q     So when you heard the gunshots, you turned
 22    around and saw Mr. Weinhaus on the ground.                  Did he
 23    have a gun?
 24               MR. PARKS:      Objection, Your Honor, beyond
 25    the scope.
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  1               JUDGE SUTHERLAND:           Sustained.
  2         Q     (By Mr. Combs) What drew your attention to
  3    Mr. Weinhaus?
  4               MR. PARKS:      Objection, Your Honor, beyond
  5    the scope of cross examination.
  6               JUDGE SUTHERLAND:           Sustained.
  7               MR. COMBS:      That's fine.        Nothing further.
  8               JUDGE SUTHERLAND:           May this witness be
  9    excused?
 10               MR. PARKS:      As far as the State is
 11    concerned.
 12               MR. COMBS:      Yes, Your Honor.
 13               JUDGE SUTHERLAND:           Thank you, you may step
 14    down.     You're free to stay or go as you wish.                Call
 15    your next witness.
 16               MR. EASTWOOD:        I call Heather Clark, Your
 17    Honor.
 18               MR. COMBS:      Your Honor, she's not feeling
 19    well.     Can I give her a glass of water?
 20               JUDGE SUTHERLAND:           Sure.
 21              (WHEREUPON HEATHER CLARK WAS SWORN IN)
 22                DIRECT EXAMINATION OF HEATHER CLARK
 23    QUESTIONS BY MR. EASTWOOD:
 24         Q     Are you ready?         Heather, can you please
 25    introduce yourself to the jury and tell the jury
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  1    your name.
  2         A     My name is Heather Clark.
  3         Q     And do you know the defendant Jeff Weinhaus?
  4         A     Just as a customer.
  5         Q     And you say as a customer, do you mean as a
  6    customer at the MFA gas station?
  7         A     Yes.
  8         Q     And how long have you worked at that MFA gas
  9    station?
 10         A     Four years.
 11         Q     And was Mr. Weinhaus a habitual customer at
 12    the gas station?
 13         A     Yes.
 14         Q     And what was his custom and habit of being a
 15    customer?
 16         A     He'd come in for five dollars of gas, a pack
 17    of Marlboro Reds in the box and a 99 cent fountain
 18    soda.
 19         Q     How often did he do that?
 20         A     Every day that I worked, and we work like
 21    three or four days a week.
 22         Q     Did you ever find him to be aggressive or
 23    unpleasant?
 24         A     No, his final words every day were, "God
 25    bless, Heather, have a great day."
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  1         Q     I want to take you back to September 11th,
  2    2012.     Did you see Jeff Weinhaus on September 11th
  3    before he was shot earlier that day?
  4         A     Yes, I did.
  5         Q     Did he come into the store?
  6         A     Yes, he did.
  7         Q     What was his demeanor, how was he acting?
  8         A     He was in a very good mood.             He was stating
  9    that he was getting his computers back and it was a
 10    good day, and I got busy and he said what he always
 11    said, God bless, Heather, have a good day."
 12           I said, "you too, Jeff," and he left.
 13         Q     And do you remember approximately what time
 14    this was?
 15         A     I'm thinking it was before noon.
 16         Q     That's fine, that's fine.            Now, after Jeff
 17    left, did you notice anything unusual at the gas
 18    station that day?
 19         A     About 10 minutes after he left, two vehicles
 20    pulled into my parking lot and one set on one far
 21    end and the other one set right up by the building.
 22         Q     Heather, do you recognize this diagram?
 23         A     Yes.
 24         Q     This is a diagram of the MFA station, this
 25    is Highway K, this is the MFA sign, these are the
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  1    gas pumps, that's the store, does that look about
  2    right to you?
  3         A     Yes.
  4         Q     And where did these cars that came in, where
  5    did they park?
  6         A     One was over where there's a drawing there.
  7         Q     Over here?
  8         A     Yes.
  9         Q     Was that about right, that was one of the
 10    cars and where was the other car?
 11         A     Right up against the building beside my
 12    vehicle.
 13         Q     About right there?
 14         A     Yes.
 15         Q     Did you talk to any of the people in either
 16    of these cars?
 17         A     No, they never did get out of their
 18    vehicles.      The one across the parking lot kept
 19    looking at the store, but they never got out of
 20    their vehicles.        I was starting to get concerned
 21    about them because they was sitting there for so
 22    long and not getting out, and I didn't know what to
 23    do about it.       I wanted -- they just made me nervous.
 24         Q     Fair enough.       Did you see Jeff when he
 25    returned to the store?
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  1         A     Yes, I did.
  2         Q     When was the first time you saw him?
  3         A     He was pulling into the parking lot and he
  4    was pulling over by the white car that was --
  5         Q     Do you mean over here?
  6         A     Yes.
  7         Q     And then what were you doing when Jeff
  8    pulled into the parking lot?
  9         A     I was counting my cigarettes, taking
 10    inventory of cigarettes.
 11         Q     And were you inside or outside the building?
 12         A     Inside.
 13         Q     And were you sitting in a particular part of
 14    the building?
 15         A     I was right up front.
 16         Q     You mean the front being this side of the
 17    building?
 18         A     Yes.
 19         Q     And where along the front were you?
 20         A     Up by the vehicle.
 21         Q     Down here?
 22         A     Yeah.
 23         Q     Was there a window there?
 24         A     Yes, I have three giant windows.
 25         Q     Did you have an obstructed view or an
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  1    unobstructed view of Jeff Weinhaus?
  2          A    Unobstructed.
  3          Q    Were you sitting or standing?
  4          A    Standing.
  5          Q    Did you see Jeff exit the car?
  6          A    Yes, I did.
  7          Q    And what way was Jeff facing when he first
  8    exited the car?
  9          A    He just got out and then I just went back to
 10    counting my cigarettes.            I didn't think nothing of
 11    it.
 12          Q    You looked away?
 13          A    I looked back away.
 14          Q    Went back to your job?
 15          A    Yes.
 16          Q    What happened next?
 17          A    I bent down to count the cartons and I heard
 18    a pop, and I jumped up and I watched Jeff fall.
 19          Q    Let me stop you there for a second.                So you
 20    looked up, did you see Jeff?
 21          A    (Witness nodded)
 22          Q    What way was he facing, with his back to you
 23    or front to you?
 24          A    He was standing with his hands in the air
 25    pointing towards the store, looking at the store.
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  1         Q     And he had his hands in the air?
  2         A     Yes.
  3         Q     Did he have anything in his hands?
  4         A     No.
  5         Q     Did you see his left hand?
  6         A     Yes.
  7         Q     Did you see his right hand?
  8         A     Yes.
  9         Q     Did he have a gun in his hands?
 10         A     No.
 11         Q     What happened next?
 12         A     He fell and I thought he was dead because he
 13    never moved after that and blood was just pouring
 14    out of him, and then the officer took a couple of
 15    steps and shot him six more times while he was
 16    laying there, and I freaked out because I didn't
 17    know it was a cop.         I thought it was another
 18    civilian.      So I run around my counter and tried to
 19    lock the door, and I noticed I had customers out
 20    there, I was telling them to get into the store, get
 21    in here, you know, and they told me it was okay,
 22    it's the cops, it's okay, Heather, it's okay.                   And I
 23    didn't feel that that was okay, and so I went
 24    outside and I was thinking what did he do to get
 25    shot like that, he had to have a gun. So I'm
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  1    looking everywhere and I didn't see a gun still, and
  2    he's just laying there and he's bleeding.                  I
  3    couldn't believe it.
  4         Q     Did any of the shooters or the other men
  5    ever identify themselves to you as law enforcement?
  6         A     No, they did not.
  7         Q     Did you see any of those men give emergency
  8    first aid to Jeff?
  9         A     No, they walked away.
 10         Q     Did you see a holster anywhere?
 11         A     No.
 12         Q     What did the men over here do, do you
 13    remember?
 14         A     No, my main focus was on Jeff and what was
 15    going on over there.
 16         Q     Ma'am, do you have any stake in the outcome
 17    of this case?
 18         A     Pardon?
 19         Q     Are you going to get any money or lose any
 20    money or do anything like that?
 21         A     No.
 22         Q     Are you going to win anything or lose
 23    anything by testifying here today?
 24         A     No.
 25               MR. EASTWOOD: Thank you very much for your
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  1    testimony.
  2               JUDGE SUTHERLAND:           Cross examination.
  3                CROSS EXAMINATION OF HEATHER CLARK
  4    QUESTIONS BY MR. PARKS:
  5         Q     Ma'am, is it a fair statement to say that
  6    you were hysterical at this time?
  7               MR. EASTWOOD:        Objection.
  8               JUDGE SUTHERLAND:           Overruled.
  9               THE WITNESS:       I wouldn't say hysterical, I
 10    was distraught but it was --
 11         Q     (By Mr. Parks) It was upsetting to you?
 12         A     It was very upsetting.
 13         Q     And the two men that were working on the
 14    gutters said that they had to come in and help
 15    comfort you, is that correct, to help calm you down?
 16         A     They told me it was the cops, that
 17    everything would be okay.
 18         Q     And did that relieve you, did you settle
 19    down at that time or were you still distressed?
 20         A     I was still distressed because I didn't
 21    understand why the cops would shoot him like that
 22    when he's laying there dead.
 23               MR. PARKS:      No further questions, Your
 24    Honor.
 25               JUDGE SUTHERLAND: Redirect?
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  1               MR. EASTWOOD:        No, Your Honor.
  2               JUDGE SUTHERLAND:           May this witness be
  3    finally excused?
  4               MR. EASTWOOD:        Yes, Your Honor.        Thank you.
  5               JUDGE SUTHERLAND:           Thank you, you may step
  6    down.     You're free to go as you wish.             Do you have
  7    another witness?
  8               MR. EASTWOOD:        May I have a moment to confer
  9    with my client, sir?
 10               JUDGE SUTHERLAND:           Yes.
 11               MR. EASTWOOD:        Your Honor, at this time the
 12    defense rests.
 13               JUDGE SUTHERLAND:           Rebuttal from the State?
 14               MR. PARKS:      May I have one moment, Your
 15    Honor?
 16               JUDGE SUTHERLAND:           Yes.
 17               MR. PARKS:      No rebuttal, Your Honor.
 18               JUDGE SUTHERLAND:           Evidence is closed.
 19    Ladies and gentlemen, we're going to have to recess
 20    for a little bit.         I'm hoping we can do it in less
 21    than 30 minutes to finish getting final instructions
 22    organized for you.         We've been working on that last
 23    night and this morning, so hopefully it won't take
 24    too long, but one more time I need to read you your
 25    favorite instruction here. The Court again reminds
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  1    you what you were told at the first recess of the
  2    Court.     Until you retire to consider your verdict,
  3    you must not discuss this case among yourselves or
  4    with others or permit anyone to discuss it in your
  5    hearing.      You should not form or express any opinion
  6    about the case until it is finally given to you to
  7    decide.     Do not do any research or investigation on
  8    your own about any matter regarding this case or
  9    anyone involved with the trial.               Do not communicate
 10    with others about the case by any means.                  Do not
 11    read, view or listen to any newspaper, radio,
 12    electronic communication from the Internet or
 13    television report of the trial.               We're in recess.
 14    You may go out with the bailiff.
 15              (WHEREUPON A BRIEF RECESS TOOK PLACE)
 16               JUDGE SUTHERLAND:           On the record for the
 17    instruction conference.
 18               MR. EASTWOOD:        Do you also want to make a
 19    record on the renewed Motion for Judgment of
 20    Acquittal?
 21               JUDGE SUTHERLAND:           Additional argument on
 22    that?
 23               MR. EASTWOOD:        No, sir.
 24               JUDGE SUTHERLAND:           Other than the two counts
 25    I dismissed yesterday, I'm not going to dismiss any
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  1    other counts or acquit the defendant on those, so
  2    the renewed motion is denied, I guess.                 The
  3    instruction conference then, I have been tendered by
  4    the State and have either already given or intend to
  5    give instructions numbered 1 through 5, excuse me, 1
  6    through 4 inclusive, 6 through 11 inclusive and 13
  7    and 14.     Any objection to any of those instructions?
  8               MR. PARKS:      No, sir, not from the State,
  9    Your Honor.
 10               MR. EASTWOOD:        No, sir.
 11               JUDGE SUTHERLAND:           I have been tendered and
 12    intend to give -- tendered by defendant and intend
 13    to give instructions No. 5 and 12, no objection?
 14               MR. PARKS:      No objection from the State,
 15    Your Honor.
 16               JUDGE SUTHERLAND:           How much time do you
 17    want?
 18               MR. PARKS:      Your Honor, the verdict forms
 19    have blanks in them which need to be filled in.
 20               JUDGE SUTHERLAND:           We'll get those, I want
 21    to start these out so the clerk can get copies made
 22    here.     Okay, anybody want a copy of the
 23    instructions?
 24       (WHEREUPON A DISCUSSION WAS HELD OFF THE RECORD)
 25               JUDGE SUTHERLAND: How much time for
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  1    arguments?
  2               MR. PARKS:      30 minutes.        We can go shorter.
  3               JUDGE SUTHERLAND:           How do you want to split
  4    it?
  5               MR. PARKS:      12 and eight.        And I'd like to
  6    reserve, if I don't use my whole 12 minutes, be able
  7    to use it in my second half.
  8               JUDGE SUTHERLAND:           Yeah, up to 10 in the
  9    second half.       What kind of warning?
 10               MR. PARKS:      Two minute on each.
 11               JUDGE SUTHERLAND:           How much of a warning do
 12    you want?
 13               MR. EASTWOOD:        I think I'll take a
 14    four-minute warning, sir.
 15               JUDGE SUTHERLAND:           Just four or four and
 16    one?
 17               MR. EASTWOOD:        Sure, four and one, I'd
 18    appreciate that.         Thank you, Your Honor.
 19               JUDGE SUTHERLAND:           It will take them a few
 20    minutes to get that organized and stapled together.
 21    I want to let the audience know that in any event
 22    the jury requests to see any videos, we'll have to
 23    clear the courtroom and show it to them in here with
 24    no one present except whoever is operating the
 25    equipment and myself. There's no good means to take
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  1    all this equipment and set it up in the jury room
  2    for them, okay.        We'll be in recess for a few
  3    minutes.
  4              (WHEREUPON A BRIEF RECESS TOOK PLACE)
  5           (WHEREUPON THE JURY ENTERED THE COURTROOM)
  6               JUDGE SUTHERLAND:           Please be seated.       Ladies
  7    and gentlemen of the jury, you'll each find on your
  8    seats a complete set of all the instructions of the
  9    Court.     Those are to assist you, and as I read the
 10    instructions to you, if you want to follow along on
 11    your copy there and to take with you to the jury
 12    room, which helps with your deliberations.                  You
 13    don't have to pass around one set of the
 14    instructions.        However, in the event there is any
 15    discrepancy between any of the copies that you have
 16    and the official set of instructions, which are the
 17    ones I'm going to read to you, please be guided by
 18    the official set.         We've never had any problem with
 19    the copy collator putting them together, but if
 20    there is a problem, please be guided by the original
 21    instructions.        I've already read instructions
 22    numbered 1 and 2, so I'm not going to reread those.
 23    We'll begin with instruction No. 3, the third page
 24    in the packet that you have.
 25           Instruction No. 3, the law applicable to this
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  1    case is stated in these instructions and the two
  2    which the Court read to you immediately after you
  3    were sworn as jurors.           All of the instructions will
  4    be given to you to take to the jury room for your
  5    use during your deliberations.                You must not single
  6    out certain instructions and disregard others or
  7    question the wisdom of any rule of law.                 The Court
  8    does not mean to assume as true any fact referred to
  9    in these instructions but leaves it to you to
 10    determine what the facts are.
 11           Instruction No. 4, the charge of any offense is
 12    not evidence, and it creates no inference that any
 13    offense was committed or that the defendant is
 14    guilty of an offense.           The defendant is presumed to
 15    be innocent unless and until your deliberations upon
 16    your verdict you find him guilty.               This presumption
 17    of innocence places upon the State the burden of
 18    proving beyond a reasonable doubt that the defendant
 19    is guilty.      A reasonable doubt is a doubt based upon
 20    reason and common sense after careful and impartial
 21    consideration of all the evidence in the case.
 22    Proof beyond a reasonable doubt is proof that leaves
 23    you firmly convinced of the defendant's guilt.                    The
 24    law does not require proof that overcomes every
 25    possible doubt. If after your consideration of all
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  1    the evidence you are firmly convinced that the
  2    defendant is guilty of the crimes charged, you will
  3    find him guilty.         If you are not so convinced, you
  4    must give him the benefit of the doubt and find him
  5    not guilty.
  6           Instruction No. 5, under the law the defendant
  7    has the right not to testify.                 No presumption of
  8    guilt may be raised and no inference of any kind may
  9    be drawn from the fact that the defendant did not
 10    testify.      Under the law the wife of the defendant
 11    has the right not to testify.                 No inference of any
 12    kind may be drawn from the fact that the wife did
 13    not testify.
 14           Instruction No. 6, as to Count 1, if you find
 15    and believe from the evidence beyond a reasonable
 16    doubt; first, that on or about August 22, 2012 in
 17    the County of Franklin, State of Missouri the
 18    defendant possessed Morphine, a controlled
 19    substance; and second, that the defendant was aware
 20    of its presence and nature, then you would find the
 21    defendant guilty under Count 1 of possession of a
 22    controlled substance.           However, unless you find or
 23    believe from the evidence beyond a reasonable doubt
 24    each and all of these propositions, you must find
 25    the defendant not guilty of that offense.
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  1           Instruction No. 7, as to Count 3, if you find
  2    and believe from the evidence beyond a reasonable
  3    doubt; first, that on or about August 22, 2012 in
  4    the County of Franklin, State of Missouri, the
  5    defendant possessed marijuana, a controlled
  6    substance; and second, the defendant was aware of
  7    its presence and nature, then you will find the
  8    defendant guilty under Count 3 of possessing
  9    marijuana.      However, unless you find and believe
 10    from the evidence beyond a reasonable doubt each and
 11    all of these propositions, you must find the
 12    defendant not guilty of that offense.
 13           Instruction No. 8, as to Count 4, if you find
 14    and believe from the evidence beyond a reasonable
 15    doubt; first, that on or about September 11th, 2012
 16    in the County of Franklin, State of Missouri, the
 17    defendant attempted to cause serious physical injury
 18    to Sergeant Folsom by trying to draw a weapon to
 19    shoot Sergeant Folsom; and second, that Sergeant
 20    Folsom was a law enforcement officer; and third,
 21    that the defendant was aware that Sergeant Folsom
 22    was a law enforcement officer, then you will find
 23    the defendant guilty under Count 4 of assault of a
 24    law enforcement officer in the first degree under
 25    this instruction. However, unless you find or
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  1    believe from the evidence beyond a reasonable doubt
  2    each and all of these propositions, you must find
  3    the defendant not guilty of that offense under this
  4    instruction.
  5           Instruction No. 9, as to Count 5, if you find
  6    and believe from the evidence beyond a reasonable
  7    doubt; first, that defendant committed the offense
  8    of assault of a law enforcement officer in the first
  9    degree as submitted in instruction No. 8; and
 10    second, that defendant committed that offense with
 11    the knowing use of a deadly weapon, then you will
 12    find the defendant guilty under Count 5 of armed
 13    criminal action.         However, unless you find and
 14    believe from the evidence beyond a reasonable doubt
 15    each and all of these propositions, you must find
 16    the defendant not guilty of that offense.
 17           Instruction No. 10, as to Count 6, if you find
 18    and believe from the evidence beyond a reasonable
 19    doubt; first, that on or about September 11th, 2012
 20    in the County of Franklin, State of Missouri, the
 21    defendant attempted to cause serious physical injury
 22    to Corporal Mertens by trying to draw a weapon to
 23    shoot at Corporal Mertens; and second, that Corporal
 24    Mertens was a law enforcement officer; and third,
 25    that the defendant was aware Corporal Mertens was a
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  1    law enforcement officer, then you will find the
  2    defendant guilty under Count 6 of assault of a law
  3    enforcement officer in the first degree under this
  4    instruction.       However, unless you find and believe
  5    from the evidence beyond a reasonable doubt each and
  6    all of these propositions, you must find the
  7    defendant not guilty of that offense under this
  8    instruction.
  9           Instruction No. 11, as to Count 7, if you find
 10    and believe from the evidence beyond a reasonable
 11    doubt; first, that defendant committed the offense
 12    of assault of a law enforcement officer in the first
 13    degree as submitted in instruction No. 10; and
 14    second, that defendant committed that offense with
 15    the knowing use of a deadly weapon, then you will
 16    find the defendant guilty under Count 7 of armed
 17    criminal action.         However, unless you find and
 18    believe from the evidence beyond a reasonable doubt
 19    each and all of these propositions, you must find
 20    the defendant not guilty of that offense.
 21           Instruction No. 12, the following terms used in
 22    these instructions are defined as follows:                  Attempt,
 23    to commit an offense, the doing of any act with the
 24    purpose of committing an offense, which act is a
 25    substantial step towards the commission of the
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  1    offense.      A substantial step means conduct which is
  2    strongly corroborative of the firmness of the
  3    actor's purpose to complete commission of the
  4    offense.
  5           Possess, possessed or possession means either
  6    actual or constructed possession of the substance.
  7    A person has actual possession if the person has the
  8    substance on his or her person or within easy reach
  9    and convenient control.            A person who although not
 10    in actual possession has the power and intention at
 11    a given time to exercise dominion or control over
 12    the substance either directly or through another
 13    person or persons is in constructive possession of
 14    it.    Possession may also be sole or joint.                If one
 15    person alone has possession, possession is sole.                     If
 16    two or more persons share possession of a substance,
 17    possession is joint.
 18           Serious physical injury means physical injury
 19    that creates a substantial risk of death or that
 20    causes serious disfigurement or protracted loss or
 21    impairment of the function of any part of the body.
 22           Instruction No. 13, the defendant is charged
 23    with a separate offense in each of the six counts
 24    submitted to you.         Each count must be considered
 25    separately.      You should return a separate verdict
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  1    for each count, and you can return only one verdict
  2    for each count.
  3           Instruction No. 14, when you retire to your
  4    jury room, you will first select one of your number
  5    to act as your foreperson and to preside over your
  6    deliberations.        You will then discuss the case with
  7    your fellow jurors.          Each of you must decide the
  8    case for yourself, but you should do so only after
  9    you have considered all the evidence, discussed it
 10    fully with the other jurors and listened to the
 11    views of your fellow jurors.                  Your verdict, whether
 12    guilty or not guilty, must be agreed to by each
 13    juror.     Although the verdict must be unanimous, the
 14    verdict should be signed by your foreperson alone.
 15    When you have concluded your deliberations, you will
 16    complete the applicable forms to which you
 17    unanimously agree and return them with all unused
 18    forms and the written instructions of the Court.
 19           Instruction No. 15, the attorneys will now have
 20    the opportunity of arguing the case to you.                   Their
 21    arguments are intended to help you in understanding
 22    the evidence and applying the law but they are not
 23    evidence.      You will bear in mind that it is your
 24    duty to be governed in your deliberations by the
 25    evidence as you remember it, the reasonable
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  1    inferences which you believe should be drawn
  2    therefrom and the law as given in these
  3    instructions.        It is your duty and yours alone to
  4    render such verdict under the law and the evidence
  5    as in your reason and conscious is true and just.
  6    The State's attorney must open the argument.                   The
  7    defendant's attorney may then argue the case.                   The
  8    State's attorney may then reply.               No further
  9    argument is permitted by either side.
 10           Closing argument on behalf of the State.
 11           (CLOSING ARGUMENT ON BEHALF OF THE STATE)
 12               MR. PARKS:      "You're going to have to shoot
 13    me, man," are the words that the defendant said
 14    which brought this episode to a tragic end, but how
 15    did it all start.         It all started with a pod cast in
 16    which the defendant made and posted on You Tube
 17    which contained threats to judicial officers, and
 18    Judge Kelly Parker called Sergeant Folsom, who he
 19    knew, and asked him to do an investigation into this
 20    matter.     And Sergeant Folsom did.            He checked with
 21    Crawford County, and you remember him testifying up
 22    here that he checked with the 911 center, they put
 23    an extra guard on it because the defendant had
 24    walked into the 911 center, that there had been
 25    extra security put on the courthouses so that they
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  1    could know if the defendant was there or not.                   They
  2    took this threat seriously.               And so Sergeant Folsom,
  3    when asked to investigate, investigated to find out
  4    what was really going on.              And you remember Sergeant
  5    Folsom told you they first looked for the defendant
  6    in Crawford County because he was running for
  7    coroner, and when you run for an office in that
  8    county, you're supposed to live in that county, but
  9    they couldn't find him at the address that was
 10    listed.     And so they got a license plate number off
 11    a car that the defendant had been driving and that
 12    led him to Piney Park just outside of St. Clair.
 13           You remember Sergeant Folsom testified that
 14    they went up to the door at the Piney Park address
 15    and the defendant came to the door.                He opened the
 16    door, he shut the door and Sergeant Folsom testified
 17    that it was a narrow sidewalk with bushes.                  You saw
 18    the picture that was attached to the search warrant.
 19    There wasn't much room but when he opened and closed
 20    that door, Sergeant Folsom who's been trained to
 21    detect marijuana smelled the odor of marijuana
 22    coming out of that house.              As they stepped down and
 23    around to the area to talk to the defendant, they
 24    also smelled marijuana on his person.
 25           You'll remember that Corporal Mertens testified
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  1    that the defendant's wife came out and told him when
  2    he asked if there was anything illegal in the house,
  3    "I have nothing illegal in the house."                 So a search
  4    warrant was obtained.           But they wouldn't let the
  5    defendant go back into the house, standard police
  6    procedure, you don't want somebody going into a
  7    scene that you want to search and destroy evidence.
  8    This upset the defendant.              Sergeant Folsom testified
  9    there was only the two of them, so they put the
 10    defendant in handcuffs, he complied, and when the
 11    other officers arrived, he was removed from the
 12    handcuffs and a search warrant was obtained.                   And
 13    during that search warrant, in the basement they
 14    found the same background that they had seen on the
 15    You Tube, what the defendant had told them was his
 16    command center, the place that the defendant went to
 17    make his broadcasts, the defendant's room.                  As the
 18    defendant's attorney said, the man cave, the bear
 19    pit, this was the domain of the defendant.                  And what
 20    did they find in that area.               They found a tin or a
 21    plastic container with items.                 They opened that item
 22    and they found a small thing of marijuana.                  They
 23    found drug paraphernalia.              They found a grinder to
 24    grind up the marijuana to smoke.                They found the
 25    smoking pipe.      They found the scales. They also
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  1    found a blue tin.         And what did they find in that
  2    blue tin, they found a pill and a half and a blue
  3    pill.     What are those pills?               Well, the lab
  4    technician testified that they tested them.                   He told
  5    you that he made a report on those and on the
  6    marijuana that was found in the house, and that it
  7    came back positive for Morphine, Morphine being a
  8    controlled substance.           Morphine that you have to
  9    have a prescription for.             And as it was discussed in
 10    voir dire, you don't have to have the physical
 11    prescription.        Heck, nowadays the doctors call those
 12    things in, you never even see them, but you're going
 13    to have a bottle, you're going to have a bottle with
 14    that prescription on it, with your name and
 15    everything on it.         You do not hide illegal drugs in
 16    a tin with marijuana and other drug paraphernalia.
 17           What did they find next?               Just outside the
 18    command center they found another bag with marijuana
 19    in it, and the officers testified that through their
 20    experience and training, they knew that this was
 21    marijuana.      Now they told you they didn't arrest
 22    defendant at that time, they were doing an
 23    investigation, and it's standard procedure when you
 24    have drugs that are going to have to be sent to the
 25    lab like these were, that you don't apply for arrest
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  1    warrants until such time as the lab tests come back.
  2    But this was an unusual situation.                This was a
  3    situation where the defendant had made threats and
  4    put a specific date on those threats, September
  5    17th.     He and his Army were going to come down and
  6    remove these people by force.                 And so you've got
  7    Crawford County on lock down, you've got special
  8    security precautions being taken.                Nobody knows at
  9    this time what the defendant might do.                 And you
 10    heard Sergeant Folsom testify that it was decided
 11    that they were either going to apply for an arrest
 12    warrant and put him under arrest so that they would
 13    have some control over him on September 17th, or
 14    they were going to have to get a warrant and put a
 15    GPS tracking device on his car so that they would
 16    have some idea of where he was because they did not
 17    know what kind of a threat defendant would be on
 18    September 17th.        And everybody knows that when you
 19    have a threat, you act aggressively on it.                  We
 20    don't, in law enforcement, sit back and let things
 21    happen if we could.          We try to prevent these kind of
 22    actions and that's what they were doing.
 23           So they obtained an arrest warrant for the
 24    defendant, and you remember Sergeant Folsom and
 25    Corporal Mertens both testified they had taken the
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  1    defendant's computers because he had been using
  2    computers, he'd done pod casts, they didn't know
  3    what else was on there and they wanted to check, and
  4    you heard them testify that the defendant had kept
  5    calling and emailing or emailing Sergeant Folsom,
  6    because he'd given him his card when asked, which is
  7    standard procedure, and it had his email address on
  8    it.    So the defendant had his email address and he
  9    kept emailing him saying, "I want my computers back,
 10    I want my computers back."               And so they used the
 11    computers as a ruse.          Now they didn't want to go to
 12    the house because defendant had been saying he was
 13    on Def-Con 4, he was locking down, he was ready to
 14    go.    He should have shot Sergeant Folsom the first
 15    time he came.        So they wanted some place that was
 16    not going to be a problem, if for some reason they
 17    had to use force to take down the defendant.
 18           And they'll tell you, you heard Sergeant Folsom
 19    say he called the defendant.                  The defendant said, "I
 20    want to meet in a public place."
 21           And he said, "Well, what about the MFA station
 22    just down from your house?"
 23           And he said, "Fine, let's meet there."                 And so
 24    Sergeant Folsom and Corporal Mertens asked for
 25    back-up from the Highway Patrol. They got two
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  1    uniformed officers from this zone here in Franklin
  2    County.     They set the two officers up on the end of
  3    the road, and they came in and positioned their car
  4    here on the parking lot a long way from anybody
  5    else, because when they pulled in, there was nothing
  6    there.     The FBI was set up here, as they said, where
  7    the truck was because they thought this was an
  8    exclusionary place.          But what happened, everybody
  9    came in and you saw on the video what happened.                    You
 10    saw the defendant, you heard the exchange, and I'm
 11    not going to play the video for you, you've seen it
 12    enough and you can remember what's on that video but
 13    you can ask the Court for it.                 And as the defendant
 14    got out of the car, the officers asked him, they saw
 15    the gun, "Hey, what are you doing with a gun?"
 16           "What are you doing with a gun?"
 17           "Well, I'm authorized."
 18           "Well, I'm authorized to do that."
 19           "All right, get on the ground," and you hear
 20    Sergeant Folsom and you hear Corporal Mertens
 21    telling him to get down.
 22           And you hear the defendant said, "you're going
 23    to have to shoot me, man," and the shots rang out.
 24    How do we know besides the tape played that was made
 25    by the defendant, how do we know that that's what he
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  1    said, because in open court in this courtroom at a
  2    hearing on February 2lst of 2013 the defendant got
  3    up and told the Court, "you will also note that as
  4    soon as I said you're going to have to shoot me,
  5    they did."      The defendant admitted that that's what
  6    he said on the tape.
  7           Ladies and gentlemen, I submit to you that we
  8    as a society do not allow or want our law
  9    enforcement officers to put themselves in anymore
 10    danger than they have.            They were there to serve a
 11    legal warrant.        They gave the defendant commands,
 12    and you heard Corporal White from the Highway Patrol
 13    testify that when the defendant's hands undid that
 14    flap of the gun (sic), they had every right to shoot
 15    him but they didn't.          When that hand went under the
 16    flap of the gun, Corporal White said they had every
 17    right to shoot him.          When his hand went on the
 18    handle of the gun and started to bring it out,
 19    Corporal White said they were behind the eight ball
 20    at that point.
 21               JUDGE SUTHERLAND:           You're just over time.
 22               MR. PARKS:      They had nothing to do but shoot
 23    him.    Thank you.
 24               JUDGE SUTHERLAND:           Closing argument on
 25    behalf of the defendant.
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  1               MR. EASTWOOD:        Thank you, Your Honor.
  2               JUDGE SUTHERLAND:           You have a minute to get
  3    your technology set up here.
  4         (CLOSING ARGUMENT ON BEHALF OF THE DEFENDANT)
  5               MR. EASTWOOD:        Ladies and gentlemen of the
  6    jury, it's been a long two and a half days, and I'm
  7    not going to speak to you to try to change your
  8    minds.     I'm here to try to give you a road map to
  9    reasonable doubt.         A road map so that when you go
 10    back there and you deliberate with each other, that
 11    you have a path to follow to get to not guilty.
 12    You've already heard that the Judge has acquitted
 13    Jeff on the You Tube video, on the judicial threat
 14    charge, and so you saw those You Tube videos and
 15    they probably made you dislike Jeff Weinhaus or at
 16    least what he was saying or how he talks, but this
 17    is not a popularity contest.                  It's not a personality
 18    contest.      This is not a TV show where you get to
 19    vote who you like or not, this is a criminal trial.
 20    So I ask you to put your thoughts on that video out
 21    of your mind, okay.
 22           Let's talk about the drugs because there's two
 23    cases here, there's a drugs case and police shooting
 24    case, the police shooting Jeff.                 The drugs, the
 25    testimony showed that the troopers recover one and a
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  1    half tablets of Morphine and a small amount of weed
  2    from the basement.         You heard that Jeff lives in
  3    that house with his wife and his 19 year old teenage
  4    son, Levi.      You heard there was a bedroom in the
  5    basement, and it looked like a teenage boy's
  6    bedroom, and there was also a common area that
  7    Sergeant Folsom called Jeff's command center, but
  8    you heard Sergeant Folsom admit and you know this
  9    from your common sense that people often use their
 10    basements as a common area, and men and teenage boys
 11    often have all sorts of goofy names for those areas,
 12    command center, bunker, bear pit, man cave,
 13    whatever.      There's a separate bedroom in the area,
 14    that's a private area.            There was also a bedroom
 15    upstairs, Jeff's bedroom with his wife, that's where
 16    they found the gun and green holster.                They didn't
 17    seize it that day.         It wasn't illegal.          But there
 18    was a common area.         Jeff made videos in that common
 19    area, so what.        There's a computer on a desk in a
 20    common area.       These are not wealthy people.              You
 21    know from experience that families have a family
 22    computer that members of the family use and share.
 23    They seized multiple computers.               They share that
 24    desk area, they share communal things.                 There are
 25    perfectly innocent explanations for many of the
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  1    things found there.          There's an old postage scale.
  2    It was not an electronic scale or a computer scale,
  3    this is not Breaking Bad, this was not a drug lab or
  4    a high tech drug dealer operation.               They found a
  5    tiny amount of drugs for personal use and not very
  6    much at that.
  7           So let's look at the verdict director.                 You
  8    have to find Jeff and not someone else that
  9    possessed those drugs, both the tablets and the
 10    weed.     You have to find that Jeff was aware of their
 11    presence.      The problem is you've got three people in
 12    the house and one of them is a teenage boy, and you
 13    know teenage boys do naughty things in basements
 14    sometimes.      You heard that Jeff yelled at his wife
 15    something about the drugs, does that mean that their
 16    Jeff's, no, it doesn't.            He could have been covering
 17    for his son.       Sergeant Perry Smith who did the
 18    investigation into the shooting said that he found
 19    Jeff's cell phone and sent it to forensics.                   There
 20    was a text message involving a Levi Weinhaus and it
 21    mentioned a weed plant.
 22               MR. PARKS:      Objection, that was objected to
 23    and sustained.
 24               JUDGE SUTHERLAND:           Disregard that last
 25    comment.
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  1               MR. EASTWOOD:        The chemist said that he
  2    could run fingerprints on the tablet, on the
  3    container.      Did he?      No.     Same thing for DNA.        Did
  4    he?    No.    You've seen no fingerprint or DNA
  5    evidence.      How hard would it be to get from three
  6    people.      You've watched CSI.              You know it's not that
  7    hard to gather forensic evidence to bring it to a
  8    jury and make you firmly convinced that someone was
  9    guilty of possessing drugs.               So can you honestly say
 10    you are firmly convinced beyond a reasonable doubt
 11    that those drugs were Jeff's and not someone else's
 12    in the house.
 13           Let's turn to the gas station, guns, we're
 14    talking about guns here.             They're controversial to
 15    some people in our society.               An open carry gun is
 16    legal in Missouri.         If you don't like it, and I know
 17    some people don't, go to Jeff City, change the law.
 18    If you want to overturn the Second Amendment, call
 19    your member of congress.             I know they're closed but
 20    you get the point.         It's the law whether we like it
 21    or not.      It's a policy debate and issue we talk
 22    about in our society.           You may question Jeff's
 23    judgment in bringing a gun to the gas station, but
 24    he did nothing wrong and nothing illegal, and every
 25    single law enforcement officer agreed with that.
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  1    Think about why he brought a gun.               Maybe he was
  2    frightened.       Two weeks before they came to his
  3    house, questioned him at length, ransacked his house
  4    and kept him out of his house for hours.                  Maybe he
  5    was scared.       They seized his computers.            Jeff is
  6    kind of a pest who makes You Tube videos in his
  7    basement.      That was a big deal to him.             It was a big
  8    deal.
  9           Now let's turn to what happened.              Corporal
 10    Mertens was the first to tell you it all happened so
 11    fast.     You heard the police reports that were made
 12    before the watch video was discovered.                 The watch
 13    video wasn't discovered until March of this year
 14    after Sergeant Smith's investigation was closed.                     So
 15    you heard the troopers giving somewhat contradictory
 16    testimony at times because they're trying to massage
 17    those facts to make it fit with the video.                  There
 18    are so many holes in Sergeant Folsom's and Corporal
 19    Mertens' testimony, if it was a canoe, it would
 20    sink, it wouldn't float down the river.                 They
 21    described Jeff as a man of God, a religious
 22    philosophical man, non-violent.               They said he made
 23    these over-the-top, tv talking head type videos and
 24    newsletters for a long time, at least 16 years,
 25    demanding various judges or officials resign, but he
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  1    never did anything.          Did he ever harm anyone, was
  2    there any evidence of that?               No way.   He was a guy
  3    making home movies in his basement and posting them
  4    on You Tube.       They were rude, they were obnoxious,
  5    they were offensive, but it's America, we have free
  6    speech and we don't have to like it but we respect
  7    each others' rights.          That's why we're not rioting
  8    in the streets.        We have free speech.
  9           So on 9/11 of last year, Sergeant Folsom and
 10    Corporal Mertens all of a sudden say they were too
 11    scared to go to the very house that they had
 12    searched two weeks before, ransacked for several
 13    hours.     Does that make sense?              Did anything happen
 14    in the interim, did Jeff hurt anyone?                 No, he made a
 15    bunch of movies making fun of Sergeant Folsom,
 16    called the Highway Patrol and made fun of him to his
 17    boss.     He filed some papers with the Supreme Court.
 18    How did they get him to the gas station, they lied
 19    to him.     Sergeant Folsom tells you it's okay to lie,
 20    okay for policeman to lie to you as long as they
 21    document it.       And then you hear that they took him
 22    to the gas station because it was a secluded place,
 23    but it wasn't a secluded place.                 You heard from at
 24    least three civilians, innocent civilians that were
 25    there.     Was that really a secluded place? Why
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  1    didn't they say hey, Jeff, come on down to the
  2    police station and get your computers, wouldn't that
  3    be a lot easier and safer?               You heard that Jeff
  4    accelerated into the parking lot and that made them
  5    alarmed, but you watched the video, did you hear an
  6    acceleration?        Did anyone notice this car flying in?
  7    I mean where Jeff parked was on a gravel incline.
  8    It is reasonable if you are going to come in, do a
  9    u-turn that you might tap the gas a little.                   You all
 10    drive, you have common sense about driving.                   The
 11    troopers said they feared Jeff would ram them.                    Did
 12    he, no, he parked his car thinking he was going to
 13    get the computers and load them into it.                  The
 14    troopers also said they feared Jeff would bring an
 15    Army of supporters.          Did he, no, and were the
 16    troopers so afraid they put on their bullet proof
 17    vests?     No.    Did they bring their heavy weapons out
 18    of the car?       No.    And here's where you start to get
 19    contradictory testimony.             Sergeant Folsom thought
 20    the guttermen, Marty and Steve, you heard from them
 21    this morning, were part of Jeff's Army.                 You heard
 22    they didn't know Jeff from Adam.               Corporal Mertens
 23    thought they were just workers doing their job,
 24    which they were.
 25           If Jeff was so dangerous, why did they have the
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  1    FBI all the way down here with gas pumps, propane
  2    tanks, civilians, a building in between, is that
  3    safe, does that make sense?               Sergeant Folsom said
  4    that not wearing a vest was a mistake, that he was
  5    being lazy.       Well, there were other mistakes made
  6    that day, let's go through them.               Sergeant Folsom
  7    acknowledged that under Missouri Law he was required
  8    to notify the sheriff of Franklin County about the
  9    search warrant two weeks before, but he had not
 10    because he had bad cell phone reception.                  Is that a
 11    really good enough reason not to follow the law,
 12    particularly for a law enforcement officer?                   You
 13    watched that video, gosh, we watched that video a
 14    lot, and you heard and saw Jeff exiting the car, you
 15    heard the tone and cadence of his voice.                  You heard
 16    him be a smartalic, that's consistent with Jeff's
 17    personality, but you heard the exchange before that.
 18    You heard the exchange between the troopers and
 19    Jeff.     And you know that the exchange was different
 20    on the video than Sergeant Folsom had described it
 21    in his written reports before he knew of the
 22    existence of the video.            Jeff said, "You don't have
 23    to shoot me, man, you're going to have to shoot me,
 24    man," I don't know, you decide.               The point is he
 25    said it in a soft voice, and either way you heard
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  1    from both the troopers, as well as Perry Smith, as
  2    well as Corporal White, the firearms expert, that
  3    saying that is not enough to shoot someone.                   It
  4    might be dumb, but it certainly is not enough to
  5    justify lethal force.           So Jeff has to have gone for
  6    his gun if they were justified to shoot him.                   But
  7    does that make sense?           If Jeff really had bad
  8    intent, why didn't he pull into the parking lot and
  9    jump out of the car with a shotgun or come out guns
 10    blazing?      Why did he do what he did?            Does it really
 11    make sense that he had this bad motive or intent?
 12           Sergeant Folsom was five to seven feet away.
 13    He recognized that green holster from his military
 14    training.      He knew this holster at best for a
 15    well-trained man in the military who was a quick
 16    draw, a good shot would take at least three seconds
 17    to pull down, to open, then to grab the grip, then
 18    to take it out, then to point, then to shoot.                   Why
 19    didn't he tackle him.           You saw him, he's a big man.
 20    He's a lot bigger than scrawny Jeff Weinhaus.                   He
 21    knew that Jeff had no gun skills, no training, no
 22    military experience.          So why did Sergeant Folsom
 23    shoot Jeff?       Jeff had personally attacked and
 24    criticized him.        Sergeant Folsom did not want to be
 25    there.     His boss, Lieutenant Satterfield who was
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  1    also criticized in the You Tube video, made him be
  2    there.     I think his adrenaline rushed in.               Corporal
  3    White, the expert, told you what happens when
  4    adrenaline rushes in, it alters perception, sight,
  5    sound, memory distortion, memory loss, tunnel
  6    vision, temporary paralysis.                  In extreme cases you
  7    lose control of your bladder or bowels.                  You are
  8    seriously altered.         It depends on how much you're
  9    stressed out, how much adrenaline comes in.
 10    Sergeant Folsom was more stressed than your average
 11    law enforcement officer.             Jeff had criticized him to
 12    his colleagues, to his boss.                  He didn't want to be
 13    there.     He admitted he had a problem with tremors,
 14    with shakes, that he was partially disabled.                   That
 15    kicked in at the shooting.               He had a cut finger.        He
 16    was shooting with one hand at first.                 That's not
 17    optimal, you heard from their expert who said you're
 18    supposed to use two hands on the gun, that is
 19    optimal, so why did he shoot?                 Did he overreact, was
 20    it an accident, was it intentional, I'm not sure.                     I
 21    don't know if you need to be sure, but Sergeant
 22    Folsom had to justify what he did.                 He shot Jeff
 23    Weinhaus when he didn't need to.                 So, he said that
 24    Jeff had opened and started to draw out his
 25    complicated military holster in less than three
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  1    seconds.      And what do we have to prove that fact, we
  2    have only the testimony of Sergeant Folsom and
  3    Corporal Mertens.         What's Corporal Mertens' motive
  4    for backing up his boss, his mentor, his friend of
  5    six years?      I think that speaks for itself.
  6           Does the video support the version of events
  7    you heard?      Less than one second before you see the
  8    bullet flying out you see the left hand going up,
  9    you can infer that, you have common sense, you know
 10    where that hand was.          You heard that Jeff was in a
 11    crouched position.         You saw that angle.          Does it
 12    really make sense that someone is pulling a gun out
 13    when they're going down like this?               Does that really
 14    make sense?       I'm not an expert on guns but that
 15    doesn't make sense to me.
 16           You heard his explanation about the entry and
 17    exit wounds on Jeff's body, that they entered high
 18    and exited low.        Is that just the difference in
 19    height or does that show that Jeff was complying
 20    with the order to get down on the ground.                  His left
 21    hand seems to be.
 22           Corporal White, the expert, conceded that the
 23    shooting was justified only if we go on the
 24    assumption that their testimony was true.                  Sergeant
 25    Smith investigated that shooting, he did not make
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  1    conclusions but he did say out of the 15 police
  2    shootings he investigated, all 15 were cleared.                    I
  3    don't know if that's a truly independent
  4    investigation.
  5           You heard from Marty and Steve, the guttermen.
  6    You heard from Heather, the store clerk.                  Are they
  7    credible people, do they have a stake in this case?
  8    No.    They saw what they saw.                Was it upsetting to
  9    them?     Sure.    Can you believe them?            You bet.
 10           What about the FBI?           They were there, they were
 11    the back-up.       Where is the FBI?            How come you didn't
 12    hear from them?        I know why you didn't hear from
 13    them, but it's the State's burden to prove up these
 14    charges and they did not want you to hear from them.
 15    The back-up did not back up the story here and
 16    that's a really critical fact, remember that.                   The
 17    back-up did not back up the story.                 Those FBI agents
 18    would not come in here and testify.                 I think that's
 19    a big red flag.        That's a big question mark.
 20           Are you sure that because of the angle that
 21    Corporal Mertens was really able to see what Jeff
 22    was doing on his right side if he was standing in a
 23    bladed position as they say?                  Again he's backing up
 24    his boss for shooting him.
 25           I talked a lot about burden of proof.                I
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  1    probably spoke badly about it when we were picking
  2    this jury.      I hope you got my point when I said what
  3    do you do if I sit in my chair and do nothing.                    My
  4    burden, Chris Combs' burden, Jeff Weinhaus' burden,
  5    the defendant's burden is zilch, nothing, nada.                    He
  6    has the burden of proving up every element of the
  7    offense beyond a reasonable doubt.               If you have
  8    questions, it's not my job to answer them.                  It's the
  9    State's job to answer them.               Remember that, remember
 10    that.     He has the burden of answering those
 11    questions.
 12           The elements of the charge attempted to cause
 13    serious physical injury.             There's a lot of evidence
 14    to undercut the troopers' testimony.                Mertens makes
 15    the case that there was no attempt against Mertens.
 16    Mertens said Jeff's eyes never left Sergeant Folsom,
 17    that he shot Jeff because he was going for Sergeant
 18    Folsom.     There was no attempt on Mertens.               He shot
 19    Jeff not to protect himself but to protect his boss.
 20    Jeff was shot four times, twice in the chest, twice
 21    in the head.       He was cuffed, left for dead for nine
 22    minutes before the emergency services got there.
 23    They thought he was dead, J-4, you heard that on the
 24    tape.     You know these men were trained in first aid.
 25    You heard Corporal White say proper procedure is
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  1    once they're cuffed and secured, you give first aid.
  2    Did they?      No.    Corporal Mertens said I looked at
  3    him, observed him and then I left him, radioed an
  4    ambulance and called my father.               Why would a man
  5    call his father after shooting someone, a law
  6    enforcement officer, a professional, it's because
  7    something bad happened, something not right.                   You
  8    saw how these men were on the stand.                They were
  9    shaken, they looked upset at times.                These are not
 10    people who felt they did the right thing defending
 11    their lives.       These are people who knew at the
 12    bottom of their hearts that the shooting was not
 13    justified, that Jeff Weinhaus had not attempted to
 14    harm them.      Nothing corroborates the story of Jeff
 15    going for his gun except their testimony, not the
 16    video, not the witnesses.              You never heard from the
 17    FBI.    You know that police do a dangerous job, but I
 18    have to tell you that you heard from Corporal White
 19    who got an award after he was involved in an
 20    officer-involved shooting and who is now the head
 21    instructor, Sergeant Folsom has not worked since,
 22    cannot wear the uniform.             You can infer something
 23    from that about this shooting, you can infer
 24    something about that whether this was a proper
 25    shooting.
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  1           It is credible to think that there is but one
  2    victim here, Jeff Weinhaus, the victim of a police
  3    shooting and two officers desperately trying to find
  4    an explanation for why they shot him.                 If there
  5    is -- if you look at the crimes for which he is
  6    charged, assaulting a law enforcement officer, there
  7    are no victims, you heard from no victims.                  My job
  8    is not to change your minds, it is to help you with
  9    these talking points so that when you go back there,
 10    you can talk to one another and find that roadmap to
 11    reasonable doubt.         Remember it's not whether or not
 12    he did it 50/50, it's not yeah kind of, maybe, sort
 13    of I think he did it, I'm pretty sure he did it, it
 14    is reasonable doubt firmly convinced.                 That is a
 15    high, high standard.          It's a tough standard.           I
 16    don't get to come back to you to talk to you
 17    anymore, I wish I could.             I thank you so much.          I'm
 18    confident you can follow this roadmap.                 You can get
 19    to not guilty.        You have enough questions that the
 20    State did not make its case.                  Thank you very, very
 21    much.
 22               JUDGE SUTHERLAND:           Mr. Parks.
 23               MR. EASTWOOD:        And by Jeff and his family.
 24               JUDGE SUTHERLAND:           You may conclude your
 25    argument on behalf of the State. You have a little
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  1    less than eight minutes left.
  2     (CONTINUED CLOSING ARGUMENT ON BEHALF OF THE STATE)
  3               MR. PARKS:      That was the best story since
  4    Alice in Wonderland and the Cheshire Cat because it
  5    distorted everything that happened there.                  Defendant
  6    put three witnesses on.            They thought the FBI was
  7    going to have a different story, why didn't they put
  8    them on?      They can put them on as easy as I.               They
  9    didn't put them on because everything that the
 10    troopers said was the truth.
 11           And what about those witnesses.              Well, they
 12    were what they all said, they didn't hear anything
 13    or see anything until they heard the shots and they
 14    turned around and saw the defendant on the ground,
 15    except for the store clerk and she was so distraught
 16    she told you that she saw him on the ground and then
 17    had the officers go up and fire six shots at him
 18    while he was laying on the ground.               Now we all know
 19    that's not true because we saw the watch video.                    And
 20    the defendant was making a big deal that he was
 21    going down on the ground, he was complying, he had
 22    his arms up in the air.            Well, we saw that watch
 23    video, and you saw those stills and you saw them
 24    over and over again, and remember the still of the
 25    Subaru, when the defendant got out of the Subaru and
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  1    the watch was pointing down here and it saw the MFA
  2    sign, and then Sergeant Folsom told you he came
  3    around the car and the defendant was going this way.
  4    We know the watch was on his left hand.                 So let's
  5    suppose for a minute that he's got his hand up.
  6    Where is that watch?          Where is that watch pointing?
  7    It's pointing back over his shoulder.                The defendant
  8    is standing here.         He's got the watch up in the air.
  9    What are you going to see?               You're going to see the
 10    MFA sign.      What did you see in the video?              You saw
 11    Corporal Mertens and Sergeant Folsom.                He had his
 12    hands down here.         He was going for his gun.            You
 13    heard both officers testify to that.                He undid the
 14    flap.
 15           During that conversation, that exchange with
 16    Sergeant Folsom, three seconds.               Anybody going to
 17    rush a man with a gun in three seconds?                 You heard
 18    him say in that conversation he pulled the flap down
 19    and let it go.        He put his hand up underneath the
 20    flap.     He put his hand on the handle of the gun and
 21    started to bring that gun out, all this while the
 22    officers are talking to him, all this while Sergeant
 23    Folsom is moving because he tells you he can see
 24    that he doesn't have a good shot pattern.                  He wants
 25    to get over here so he's shooting over here.                   This
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  1    isn't blame the officers.              The officers are not on
  2    trial here.       What the officers did was to defend
  3    themselves, and that's what you heard Sergeant White
  4    say.    And when it came down to the very end with him
  5    manipulating the holster, with him putting his hand
  6    under the flap, with him starting to draw the gun
  7    and the defendant saying to the officers, "You're
  8    going to have to shoot me, man," it is now your job
  9    to decide whether or not -- whether or not you want
 10    these officers shot.          Officers are law enforcement,
 11    they're trained, we don't send law enforcement
 12    officers out to get shot.              We train them to react
 13    and take the necessary steps.
 14           You heard Corporal White talk about the wagon
 15    wheel.     They were faced with a life and death
 16    situation.      They had a man who was wide eyed, who
 17    was crouching down, who was focused on them, who was
 18    going for his weapon and they fired, and they hit
 19    him and he went down.
 20           All this stuff, "Well, they didn't render first
 21    aid."     Well, the defendant looks pretty good to me
 22    for being shot four times
 23               MR. EASTWOOD:        I object to that, Your Honor.
 24               JUDGE SUTHERLAND:           Overruled.
 25               MR. PARKS: The law enforcement officers did
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  1    what they did.        The defendant tried to assault the
  2    law enforcement officers, that's the two criminal
  3    action charges that you have.                 He went for his gun
  4    and they defended themselves.                 You have to find the
  5    defendant guilty of assault of a law enforcement
  6    officer and armed criminal action.                We know that the
  7    drugs were in his cave, his command center, his
  8    room, he had control of that because if there was
  9    anybody else that had control of that, they could
 10    have called them to say hey, those were my drugs,
 11    but they didn't.         They can ask for DNA testing, they
 12    could have asked for fingerprint testing but they
 13    didn't want to do that because they knew that it
 14    would come up as to the defendant.                He is guilty of
 15    having the marijuana.           He is guilty of having the
 16    Morphine, a prescribed drug in a tin.                 Drug dealers,
 17    drug addicts have drugs in a tin.                 Normal citizens
 18    have them in a prescription bottle or as it was said
 19    before, one of those little cases where you go
 20    either daily or weekly, something, but you got the
 21    bottle there, you fill it out of the bottle with the
 22    prescription.        The defendant is guilty of all six
 23    counts, and the State and the people of Franklin
 24    County are asking you to find the defendant guilty.
 25    Thank you.
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  1               JUDGE SUTHERLAND:           Ladies and gentlemen --
  2    well, first Mr. Loepker, you are our insurance
  3    policy, our alternate.            So you're not going to be
  4    able to deliberate here.             If you want to stick
  5    around and see what transpires, that's fine.                   If
  6    somebody gets sick in the next couple of hours we
  7    might need you after all, but you will not be able
  8    to go back to the jury room, but I want to express
  9    my appreciation for your service.               For the rest of
 10    you it's time to retire to the jury room, select
 11    your foreperson, deliberate and arrive at your
 12    verdict.      The sheriff will direct you to the jury
 13    room and will deliver to you your instructions and
 14    verdict form, six of which will be proper for your
 15    verdicts and should be signed and returned as your
 16    verdicts.      The others should be returned not signed.
 17    When you have arrived at your verdicts, notify the
 18    sheriff by knocking on the door and you will be told
 19    when to return to the jury box.               I ask the clerk to
 20    swear the bailiffs to keep the jury together during
 21    deliberation.
 22                (WHEREUPON THE BAILIFFS WERE SWORN)
 23               JUDGE SUTHERLAND:           You may retire to the
 24    jury room at this time.            Note the jury retired at
 25    10:52 a.m.      We're in recess.
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  1          (COURT IN RECESS FROM 10:52 AM TO 11:36 AM)
  2               JUDGE SUTHERLAND:           Bailiff brought me a note
  3    from the jury five to ten minutes ago.                 It was a
  4    little ambiguous, so I asked him to take it back and
  5    ask them to clarify.          So I now have a request that
  6    reads as follows, and I'll show it to you because
  7    you can see where the original was in pencil and the
  8    additions are in pen.           "Still photos of video from
  9    defendant's attorney showed."                 The grammar is
 10    terrible because of the additions here, "from
 11    watch," they put from watch in there, and then a
 12    separate line, "see video," which is watch video,
 13    and then, "read transcript from Folsom and Mertens
 14    testimony regarding gun (Jeff's) placement before
 15    and after the shooting."             It's signed by --
 16               MR. COMBS:      Do you know who the foreman is?
 17               JUDGE SUTHERLAND:           It's No. 4, Krista Sieve.
 18    She doesn't identify herself as foreman but she's
 19    the one that signed it.            You didn't actually have
 20    any still photos from the video, it was showing the
 21    freeze frame?
 22               MR. EASTWOOD:        They are still photos.
 23    They're in a folder on a drive, and the Microsoft
 24    picture viewer you just hit back and forth and the
 25    pictures are in sequential order. It's broken down
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  1    into 29 stills.
  2               JUDGE SUTHERLAND:           That wasn't introduced
  3    into evidence.
  4               MR. PARKS:      No, Your Honor, so it can't be
  5    shown to the jury.
  6               MR. EASTWOOD:        I believe that it is a still
  7    from a video that is in evidence.               It is
  8    demonstrative evidence of a piece of evidence.
  9    There was no objection during trial, during the
 10    evidence.
 11               MR. PARKS:      It was never introduced.
 12               JUDGE SUTHERLAND:           It was never introduced
 13    into evidence is the problem with it.
 14               MR. COMBS:      It was as the tape recording was
 15    though.
 16               MR. PARKS:      I have no problem with the watch
 17    video, it was admitted into evidence.                So them
 18    looking at the watch video, I have no problems with.
 19               JUDGE SUTHERLAND:           What we need to do is
 20    clear the courtroom, show the watch video and if
 21    they want to go through it frame by frame, are you
 22    the expert on that?
 23               MR. EASTWOOD:        Do you want to do it off the
 24    computer?
 25               MR. PARKS: There is no transcript.
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  1               JUDGE SUTHERLAND:           No.    All I can tell them
  2    is we do not have a transcript at this time.                   I'll
  3    clear the courtroom, let's get the video set up to
  4    watch video.       We'll clear the courtroom, bring them
  5    in, show them the video.             I'll explain to them that
  6    the still photographs were not admitted into
  7    evidence but we can show them frame by frame.
  8               MR. EASTWOOD:        I don't mean to be difficult
  9    but for the record can I make an objection simply
 10    that the stills are demonstrative?
 11               JUDGE SUTHERLAND:           You can make the
 12    objection but it is overruled.
 13               MR. EASTWOOD:        I make the objection that the
 14    stills are demonstrative of the video.
 15               JUDGE SUTHERLAND:           Overruled and I'll
 16    explain to them that we don't have the transcript of
 17    the testimony.
 18               MR. EASTWOOD:        The action starts around 4:30
 19    maybe, 4:45.
 20               JUDGE SUTHERLAND:           Move it up shortly before
 21    that, 4:25 or so.
 22               MR. EASTWOOD:        The shots are between 5:00
 23    and 5:10.
 24    (COURTROOM IS CLEARED EXCEPT FOR JUDGE, JURY, VIDEO
 25                   OPERATOR AND COURT REPORTER)
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  1               MS. SIEVE:      Since it's just you, are we
  2    allowed to communicate?
  3               JUDGE SUTHERLAND:           It might be better if you
  4    do not.     That might constitute deliberations and
  5    none of us should be with you when you do that.
  6               MR. STRAATMANN:         It's a clarification
  7    question.
  8               JUDGE SUTHERLAND:           I'm required to tell the
  9    attorneys about this but I can do that later.                   The
 10    question is what is the definition of assault in the
 11    first degree.        I can't tell you anymore than what is
 12    in the instructions, okay, and I believe it's
 13    essentially defined in there as part of the
 14    instruction.       It doesn't say this is the definition
 15    but it's in there.         As far as your original request
 16    as revised, there is no transcript at this point of
 17    Sergeant Folsom's or Corporal Mertens' testimony, so
 18    I can't read that or provide that for you in any
 19    respect.      The still photographs of the video that
 20    Mr. Eastwood used were not admitted into evidence,
 21    so I can't pass them to you in the jury room or show
 22    them to you now.         However, we can go through the
 23    video, and since you requested to see the video, I'm
 24    going to go ahead and play the video and we can back
 25    it up and go through it a small section at a time,
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  1    and I think that might take care of the problem with
  2    not being able to use the actual still photos that
  3    were taken off of the video.                  I was told by the
  4    attorneys before you were brought back in here that
  5    the action starts around the four minute and 30
  6    second mark.       So we've set the video around 4:25
  7    just before that, is that okay?
  8               THE JURY:      Yes.
  9               JUDGE SUTHERLAND:           So we'll go through the
 10    whole thing and back it up and go through it section
 11    by section, and if you see a section that you'd like
 12    to stop and take a look at it, let me know, okay.
 13    Let's play it then.
 14                  (WHEREUPON THE VIDEO WAS PLAYED)
 15               JUDGE SUTHERLAND:           Is that enough?
 16               MR. STRAATMANN:         The prosecuting attorney
 17    has pictures afterwards, the pictures that were put
 18    into evidence.
 19               JUDGE SUTHERLAND:           Of the site?
 20               MR. STRAATMANN:         Yes.
 21               JUDGE SUTHERLAND:           You can see any of the
 22    exhibits.      We don't pass weapons to the jury room,
 23    but all of the documentary exhibits, photographs.
 24               MR. STRAATMANN:         I think the actual crime
 25    scene photos of the scene.
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  1               JUDGE SUTHERLAND:           You can see those, well
  2    there's a number of them.
  3               MR. STRAATMANN:         We're really wanting to try
  4    to see the actual weapon in the case or out of the
  5    case or however it was, I don't know which one that
  6    was.
  7               JUDGE SUTHERLAND:           Did you want to see any
  8    of the other pictures as well?
  9               MR. STRAATMANN:         If we can.
 10               JUDGE SUTHERLAND:           All of the photographs of
 11    the scene?
 12               MR. STRAATMANN:         Yes.
 13               JUDGE SUTHERLAND:           I'm looking at my exhibit
 14    list here.      That would be State's Exhibits 16
 15    through 22, I believe.            That would be the pistol,
 16    holster and the scene location of cars and so forth
 17    afterwards.       Do you want to see those?
 18               MR. STRAATMANN:         Yeah.
 19               JUDGE SUTHERLAND:           Let me make a note
 20    because I want to let the attorneys know as well.
 21               MR. STRAATMANN:         Can we watch the video one
 22    more time, just from when he gets out of the car.
 23                  (WHEREUPON THE VIDEO WAS PLAYED)
 24               JUDGE SUTHERLAND:           Is that enough?
 25               MR. STRAATMANN: Yeah.
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  1               JUDGE SUTHERLAND:           Okay, why don't you go on
  2    back to the jury room.            Your lunch will be here in
  3    five to ten minutes.          I would suggest just take a
  4    little break when you eat lunch, 20, 30 minutes,
  5    however long it takes, and don't even talk about the
  6    case, talk about the weather, Cardinals last night
  7    or something else and just relax for a few minutes
  8    and come back to it.          Sometimes that works out and
  9    we'll get those pictures to you.
 10      (LUNCHEON RECESS TAKEN FROM 11:56 AM TO 12:56 AM)
 11               JUDGE SUTHERLAND:           Right after we handled
 12    the first jury question, of course we brought the
 13    jury in the courtroom, it was cleared, I explained
 14    to them that we didn't have any transcript either of
 15    Sergeant Folsom's testimony or Corporal Mertens', so
 16    we couldn't provide that for them, neither could we
 17    provide still photographs from the video but let
 18    them view the video and if they wanted to go through
 19    it slowly, we could do that.                  What we ended up doing
 20    was just listening to the video starting maybe five,
 21    ten seconds before your client got out of the car
 22    and through the shooting until the video basically
 23    went white.       Watched that twice.            They did not ask
 24    for any slow ways through it.                 They asked if they
 25    could discuss among themselves while they were in
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  1    here watching the video and I told them no, that's
  2    deliberations, they'll have to do that back in the
  3    jury room.      They wanted to know if they could take
  4    notes, I indicated they could since it was part of
  5    deliberations, and then they handed me a note that
  6    reads as follows:         "What is the definition of
  7    assault in the first degree."                 And I told them that
  8    I could not give them a definition but basically
  9    there was a definition in the instructions if they
 10    just read the instructions.               It didn't say
 11    definition but it explained what it was, and they
 12    seemed to be satisfied with that.                Then they asked
 13    for the photographs of the scene.                They were
 14    stumbling around for the name but they got Smith in
 15    there right, that were taken afterwards, just to
 16    show where everything was.               So at that point I sent
 17    them back to the jury room, and we sent State's
 18    Exhibits 14 and 16 through 22 inclusive with them.
 19    14 and 16 through 22 inclusive.                They wanted the
 20    photographs of the holster and pistol and all that
 21    stuff, so I went through 22.
 22               MR. EASTWOOD:        So that does not include the
 23    weapons in the car?
 24               JUDGE SUTHERLAND:           No, I already told them
 25    we're not sending any weapons.
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  1               MR. EASTWOOD:        Thank you, Your Honor.
  2               JUDGE SUTHERLAND:           So there we are.       Off the
  3    record.
  4           (COURT IN RECESS FROM 1:01 PM TO 2:17 PM)
  5               JUDGE SUTHERLAND:           It's my understanding
  6    that we have a verdict on Phase 1, the guilt phase
  7    of the trial and we'll bring the jury in in just a
  8    minute to see if we do or not.                I have one caution.
  9    There's a lot of people here on behalf of
 10    Mr. Weinhaus, I understand that, as well as some
 11    people here on behalf of the State.                I would ask
 12    that there be no outbursts of any kind when the
 13    verdicts are read.         I have no idea what they are but
 14    it's not appropriate.           Let's bring them in and see
 15    what we got.
 16           (WHEREUPON THE JURY ENTERED THE COURTROOM)
 17                  (WHEREUPON THE VERDICT WAS READ)
 18               JUDGE SUTHERLAND:           Ms. Sieve, you are the
 19    foreperson of the jury?
 20               MS. SIEVE:      Yes, sir.
 21               JUDGE SUTHERLAND:           Has the jury reached a
 22    verdict?
 23               MS. SIEVE:      Yes, sir.
 24               JUDGE SUTHERLAND:           Would you hand it to the
 25    bailiff, please. At this time I will read the
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  1    verdict of the jury.          As to Count 1, we the jury
  2    find the defendant Jeffrey R. Weinhaus guilty of
  3    possessing a controlled substance as submitted in
  4    instruction No. 6 signed K. Sieve, foreperson.
  5    Ladies and gentlemen, is that your verdict for all
  6    of you.
  7                         (ALL YESES WERE HEARD)
  8               JUDGE SUTHERLAND:           As to Count 3, we the
  9    jury find the defendant Jeffrey R. Weinhaus guilty
 10    of possessing marijuana as submitted in instruction
 11    No. 7, also signed K. Sieve, foreperson.                  Is that
 12    the verdict of all of you.
 13                         (ALL YESES WERE HEARD)
 14               JUDGE SUTHERLAND:           As to Count 4, we the
 15    jury find the defendant Jeffrey R. Weinhaus guilty
 16    of assault of a law enforcement officer in the first
 17    degree as submitted in instruction No. 8, signed K.
 18    Sieve, foreperson.         Is that the verdict of all of
 19    you.
 20                         (ALL YESES WERE HEARD)
 21               JUDGE SUTHERLAND:           As to Count 5, we the
 22    jury find the defendant Jeffrey R. Weinhaus guilty
 23    of armed criminal action as submitted in instruction
 24    No. 9, signed K. Sieve, foreperson.                Is that the
 25    verdict of all of you?
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   1                        (ALL YESES WERE HEARD)
   2              JUDGE SUTHERLAND:            As to Count 6, we the
   3   jury find the defendant Jeffrey R. Weinhaus not
   4   guilty, signed K. Sieve, foreperson.                 Is that the
   5   verdict of all of you.
   6                        (ALL YESES WERE HEARD)
   7              JUDGE SUTHERLAND:            And finally as to Count
   8   7, we the jury find the defendant Jeffrey R.
   9   Weinhaus not guilty, again signed K. Sieve,
 10    foreperson.       Is that the verdict of all of you?
 11                         (ALL YESES WERE HEARD)
 12               JUDGE SUTHERLAND:            Thank you.    Does anyone
 13    want the jury polled?
 14               MR. EASTWOOD:         Your Honor, at this time I
 15    would ask that the jury be polled.
 16               JUDGE SUTHERLAND:            Ladies and gentlemen, I'm
 17    going to ask each of you individually as to each
 18    verdict one at a time whether it is your verdict or
 19    not.     So first as to Count 1, the possession of a
 20    controlled substance charge, that was the Morphine
 21    charge.      Ms. Craig, was that your verdict?
 22               MS. CRAIG:       Yes.
 23               JUDGE SUTHERLAND:            Mr. Click?
 24               MR. CLICK:       Yes.
 25               JUDGE SUTHERLAND: Mr. Coleman?
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   1              MS. COLEMAN:        Yes.
   2              JUDGE SUTHERLAND:            Ms. Sieve?
   3              MS. SIEVE:       Yes.
   4              JUDGE SUTHERLAND:            Ms. Hoffmann?
   5              MS. HOFFMANN:         Yes.
   6              JUDGE SUTHERLAND:            Ms. Hardester?
   7              MS. HARDESTER:          Yes.
   8              JUDGE SUTHERLAND:            Ms. Davis?
   9              MS. DAVIS:       Yes.
 10               JUDGE SUTHERLAND:            Mr. Rutherford?
 11               MR. RUTHERFORD:          Yes.
 12               JUDGE SUTHERLAND:            Ms. Stack?
 13               MS. STACK:       Yes.
 14               JUDGE SUTHERLAND:            Ms. Cooper?
 15               MS. COOPER:        Yes.
 16               JUDGE SUTHERLAND:            Mr. Straatmann?
 17               MR. STRAATMANN:          Yes.
 18               JUDGE SUTHERLAND:            Ms. Tyree?
 19               MS. TYREE:       Yes.
 20               JUDGE SUTHERLAND:            Then as to Count 3 which
 21    is the possession of marijuana charge, the guilty
 22    verdict there, Ms. Craig, was that your verdict?
 23               MS. CRAIG:       Yes.
 24               JUDGE SUTHERLAND:            Mr. Click?
 25               MR. CLICK: Yes.
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   1              JUDGE SUTHERLAND:            Ms. Coleman?
   2              MS. COLEMAN:        Yes.
   3              JUDGE SUTHERLAND:            Ms. Sieve?
   4              MS. SIEVE:       Yes.
   5              JUDGE SUTHERLAND:            Ms. Hoffmann?
   6              MS. HOFFMANN:         Yes.
   7              JUDGE SUTHERLAND:            Ms. Hardester?
   8              MS. HARDESTER:          Yes.
   9              JUDGE SUTHERLAND:            Ms. Davis?
 10               MS. DAVIS:       Yes.
 11               JUDGE SUTHERLAND:            Mr. Rutherford?
 12               MR. RUTHERFORD:          Yes.
 13               JUDGE SUTHERLAND:            Ms. Stack?
 14               MS. STACK:       Yes.
 15               JUDGE SUTHERLAND:            Ms. Cooper?
 16               MS. COOPER:        Yes.
 17               JUDGE SUTHERLAND:            Mr. Straatmann?
 18               MR. STRAATMANN:          Yes.
 19               JUDGE SUTHERLAND:            And Ms. Tyree?
 20               MS. TYREE:       Yes.
 21               JUDGE SUTHERLAND:            And then as to Count 4,
 22    guilty verdict there of the assault of a law
 23    enforcement officer first degree, and that's the
 24    assault on Sergeant Folsom.                Ms. Craig, is that your
 25    verdict?
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   1
   2              MS. CRAIG:       Yes.
   3              JUDGE SUTHERLAND:            Mr. Click?
   4              MR. CLICK:       Yes.
   5              JUDGE SUTHERLAND:            Ms. Coleman?
   6              MS. COLEMAN:        Yes.
   7              JUDGE SUTHERLAND:            Ms. Sieve?
   8              MS. SIEVE:       Yes.
   9              JUDGE SUTHERLAND:            Ms. Hoffmann?
 10               MS. HOFFMANN:         Yes.
 11               JUDGE SUTHERLAND:            Ms. Hardester?
 12               MS. HARDESTER:          Yes.
 13               JUDGE SUTHERLAND:            Ms. Davis?
 14               MS. DAVIS:       Yes.
 15               JUDGE SUTHERLAND:            Mr. Rutherford?
 16               MR. RUTHERFORD:          Yes.
 17               JUDGE SUTHERLAND:            Ms. Stack?
 18               MS. STACK:       Yes.
 19               JUDGE SUTHERLAND:            Ms. Cooper?
 20               MS. COOPER:        Yes.
 21               JUDGE SUTHERLAND:            Mr. Straatmann?
 22               MR. STRAATMANN:          Yes.
 23               JUDGE SUTHERLAND:            And Ms. Tyree?
 24               MS. TYREE:       Yes.
 25               JUDGE SUTHERLAND: Then as to Count 5, the
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   1   armed criminal action guilty verdict regarding again
   2   Sergeant Folsom, I believe.                Ms. Craig, is that your
   3   verdict?
   4              MS. CRAIG:       Yes.
   5              JUDGE SUTHERLAND:            Mr. Click?
   6              MR. CLICK:       Yes.
   7              JUDGE SUTHERLAND:            Ms. Coleman?
   8              MS. COLEMAN:        Yes.
   9              JUDGE SUTHERLAND:            Ms. Sieve?
 10               MS. SIEVE:       Yes.
 11               JUDGE SUTHERLAND:            Ms. Hoffmann?
 12               MS. HOFFMANN:         Yes.
 13               JUDGE SUTHERLAND:            Ms. Hardester?
 14               MS. HARDESTER:          Yes.
 15               JUDGE SUTHERLAND:            Ms. Davis?
 16               MS. DAVIS:       Yes.
 17               JUDGE SUTHERLAND:            Mr. Rutherford?
 18               MR. RUTHERFORD:          Yes.
 19               JUDGE SUTHERLAND:            Ms. Stack?
 20               MS. STACK:       Yes.
 21               JUDGE SUTHERLAND:            Ms. Cooper?
 22               MS. COOPER:        Yes.
 23               JUDGE SUTHERLAND:            Mr. Straatmann?
 24               MR. STRAATMANN:          Yes.
 25               JUDGE SUTHERLAND: And Ms. Tyree?
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   1              MS. TYREE:       Yes.
   2              JUDGE SUTHERLAND:            As to the not guilty
   3   verdict in the Count 6, which is the assault of a
   4   law enforcement officer against Corporal Mertens.
   5   Ms. Craig, is that your verdict?
   6              MS. CRAIG:       Yes.
   7              JUDGE SUTHERLAND:            Mr. Click?
   8              MR. CLICK:       Yes.
   9              JUDGE SUTHERLAND:            Ms. Coleman?
 10               MS. COLEMAN:        Yes.
 11               JUDGE SUTHERLAND:            Ms. Sieve?
 12               MS. SIEVE:       Yes.
 13               JUDGE SUTHERLAND:            Ms. Hoffmann?
 14               MS. HOFFMANN:         Yes.
 15               JUDGE SUTHERLAND:            Ms. Hardester?
 16               MS. HARDESTER:          Yes.
 17               JUDGE SUTHERLAND:            Ms. Davis?
 18               MS. DAVIS:       Yes.
 19               JUDGE SUTHERLAND:            Mr. Rutherford?
 20               MR. RUTHERFORD:          Yes.
 21               JUDGE SUTHERLAND:            Ms. Stack?
 22               MS. STACK:       Yes.
 23               JUDGE SUTHERLAND:            Ms. Cooper?
 24               MS. COOPER:        Yes.
 25               JUDGE SUTHERLAND: Mr. Straatmann?
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   1              MR. STRAATMANN:          Yes.
   2              JUDGE SUTHERLAND:            And Ms. Tyree?
   3              MS. TYREE:       Yes.
   4              JUDGE SUTHERLAND:            And finally as to Count
   5   7, the not guilty verdict regarding the armed
   6   criminal action on Corporal Mertens.                 Ms. Craig, is
   7   that your verdict?
   8              MS. CRAIG:       Yes.
   9              JUDGE SUTHERLAND:            Mr. Click?
 10               MR. CLICK:       Yes.
 11               JUDGE SUTHERLAND:            Ms. Coleman?
 12               MS. COLEMAN:        Yes.
 13               JUDGE SUTHERLAND:            Ms. Sieve?
 14               MS. SIEVE:       Yes.
 15               JUDGE SUTHERLAND:            Ms. Hoffmann?
 16               MS. HOFFMANN:         Yes.
 17               JUDGE SUTHERLAND:            Ms. Hardester?
 18               MS. HARDESTER:          Yes.
 19               JUDGE SUTHERLAND:            Ms. Davis?
 20               MS. DAVIS:       Yes.
 21               JUDGE SUTHERLAND:            Mr. Rutherford?
 22               MR. RUTHERFORD:          Yes.
 23               JUDGE SUTHERLAND:            Ms. Stack?
 24               MS. STACK:       Yes.
 25               JUDGE SUTHERLAND: Ms. Cooper?
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   1              MS. COOPER:        Yes.
   2              JUDGE SUTHERLAND:            Mr. Straatmann?
   3              MR. STRAATMANN:          Yes.
   4              JUDGE SUTHERLAND:            And Ms. Tyree?
   5              MS. TYREE:       Yes.
   6              JUDGE SUTHERLAND:            I think I have your names
   7   memorized in order.           Ladies and gentlemen of the
   8   jury, we need a few minutes, there's a couple of
   9   instructions we need to get straightened out for
 10    this, it won't take but a few minutes to get them
 11    organized and get them copied for you to have a
 12    copy, but it may take us perhaps 15 minutes,
 13    something like that.           So we're going to recess for a
 14    few minutes before we begin the second phase.                    The
 15    reason we can't go straight into the second phase of
 16    the instructions at this point is because it depends
 17    on what counts you find the defendant guilty of, if
 18    any, and we didn't know that until you brought in
 19    the verdict.
 20           Until you retire to consider your verdict as to
 21    punishment, you must not discuss this case among
 22    yourselves or with others or permit anyone to
 23    discuss it in your hearing.                Do not do any research
 24    or investigation on your own about any matter
 25    regarding this case or anyone involved with the
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   1   trial.     Do not communicate with others about the
   2   case by any means.          Do not read, view or listen to
   3   any newspaper, radio, electronic communication from
   4   the Internet or television report of the trial.
   5   We're in recess.         We'll get you back in here as
   6   quickly as we can.
   7            (WHEREUPON THE JURY LEFT THE COURTROOM)
   8              JUDGE SUTHERLAND:            I have been tendered by
   9   the State and intend to give instructions numbered
 10    16 through 22 inclusive in the second phase;
 11    instructions numbered 21 and 22 will be after
 12    evidence and argument.             Any objection to any of
 13    those instructions?
 14               MR. EASTWOOD:         No, sir.
 15               MR. PARKS:       No, Your Honor.
 16               JUDGE SUTHERLAND:            Good, because objections
 17    are impossible, there's nothing to object to.                    How
 18    much time do you want for argument, 10 minutes?
 19               MR. EASTWOOD:         I don't know if I need that
 20    much.
 21               MR. PARKS:       That's fine.       10 minutes, 6 and
 22    4.
 23               JUDGE SUTHERLAND:            Warn at one, one minute
 24    warnings?
 25               MR. EASTWOOD: Two minutes, if you don't
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   1   mind, Your Honor.
   2             (WHEREUPON A BRIEF RECESS TOOK PLACE)
   3          (WHEREUPON THE JURY ENTERED THE COURTROOM)
   4              JUDGE SUTHERLAND:            Please be seated.       You
   5   have found some more instructions on your seats
   6   there again.        That's to assist you in following
   7   along as I read some additional instructions of the
   8   Court.     Instruction No. 16, as to Count 1, you have
   9   found the defendant guilty of possessing a
 10    controlled substance.            At this stage of the trial it
 11    will be your duty to determine within the limits
 12    prescribed by law the punishment that must be
 13    imposed for these offenses.                The punishment
 14    prescribed by law for possessing a controlled
 15    substance is one, imprisonment for a term of years
 16    fixed by you but not less than two years and not to
 17    exceed seven years.           Two, imprisonment in the county
 18    jail for a term fixed by you but not to exceed one
 19    year.     Three, imprisonment for a term of years fixed
 20    by you but not less than two years and not to exceed
 21    seven years and in addition a fine, the amount to be
 22    determined by the Court.              Four, imprisonment in the
 23    county jail for a term fixed by you but not to
 24    exceed one year and in addition a fine, the amount
 25    to be determined by the Court. Five, no
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   1   imprisonment but a fine in an amount to be
   2   determined by the Court.              The maximum fine that the
   3   Court may impose is $5,000.00.
   4          Instruction No. 17, as to Count 3, you have
   5   found the defendant guilty of possessing marijuana.
   6   At this stage of the trial it will be your duty to
   7   determine within the limits prescribed by law the
   8   punishment that must be imposed for these offenses.
   9   The punishment prescribed by law for possessing
 10    marijuana is one, imprisonment in the county jail
 11    for a term fixed by you but not to exceed one year.
 12    Two, imprisonment in the county jail for a term
 13    fixed by you but not to exceed one year and in
 14    addition a fine, the amount to be determined by the
 15    Court.     I noticed on the previous line where it says
 16    not to exceed one year there's a period, it should
 17    be a comma, you can figure that out.                 Three, no
 18    imprisonment but a fine in an amount to be
 19    determined by the Court.              The maximum fine that the
 20    Court may impose is $1,000.00.
 21           Instruction No. 18, as to Count 7, you have
 22    found the defendant guilty of assault of a law
 23    enforcement officer in the first degree.                  At this
 24    stage of the trial it will be your duty to determine
 25    within the limits prescribed by law the punishment
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   1   that must be imposed for those offenses.                  The
   2   punishment prescribed by law for assault of a law
   3   enforcement -- I'm sorry, that word is missing, I'm
   4   going to add it.         It should be law enforcement
   5   officer.      I'm going to add the word officer in
   6   there, so you may want to look at the official
   7   instruction.        Let me start that sentence over.              The
   8   punishment prescribed by law for assault of a law
   9   enforcement officer in the first degree is one, life
 10    imprisonment.        Two, imprisonment for a term of years
 11    fixed by you but not less than 10 years and not to
 12    exceed 30 years.
 13           Instruction No. 19, as to Count 5, you have
 14    found the defendant guilty of armed criminal action.
 15    At this stage of the trial it will be your duty to
 16    determine within the limits prescribed by law the
 17    punishment that must be imposed for these offenses.
 18    The punishment prescribed by law for armed criminal
 19    action is one, imprisonment for a term of years
 20    fixed by you but not less than three years.
 21           Instruction No. 20, at this stage of the trial
 22    we will proceed as follow.                First the attorneys will
 23    have an opportunity to make a statement outlining
 24    any additional evidence to be presented.                  Such
 25    evidence may then be introduced. After that, the
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   1   Court will provide you with additional instructions.
   2   Then the attorneys may make their arguments.                    You
   3   will then go to the jury room, deliberate and arrive
   4   at your verdicts.          Opening statement for the State.
   5   (OPENING STATEMENT/PUNISHMENT PHASE BEHALF OF STATE)
   6              MR. PARKS:       Thank you, Your Honor.           Ladies
   7   and gentlemen, as the Court has said, this is the
   8   penalty phase.        This is the phase of the trial where
   9   you will decide the punishment that Mr. Weinhaus
 10    should receive for the four counts of guilty that
 11    you have rendered.          I want you to remember the
 12    evidence from the first phase.                 The State is going
 13    to present evidence from Sergeant Folsom who is
 14    going to talk to you about how this incident has
 15    affected his life.          At the end of Sergeant Folsom's
 16    statement, we're going to ask you to consider his
 17    statement, his feelings in this case and the
 18    evidence that you heard in the first part of the
 19    trial to come up with your verdict.
 20               JUDGE SUTHERLAND:            Opening statement now?
 21       (OPENING STATEMENT/PUNISHMENT PHASE BY DEFENDANT)
 22               MR. EASTWOOD:         Yes, Your Honor.        Ladies and
 23    gentlemen, you'll also hear at this phase of the
 24    trial from Judy Kropf Weinhaus, that's Jeff's wife,
 25    now ex-wife.      You'll hear about Jeff's character as
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   1   a husband, as a father and also about the injuries
   2   he suffered the day of the shooting.                 Thank you.
   3              JUDGE SUTHERLAND:            Evidence for the State.
   4              MR. PARKS:       Sergeant Folsom.
   5              JUDGE SUTHERLAND:            He's still under oath.
   6              DIRECT EXAMINATION OF SERGEANT FOLSOM
   7   QUESTIONS BY MR. PARKS:
   8         Q    Again, please state your name for the Court
   9   for the record.
 10          A    Henry James Folsom.
 11          Q    And you are a Sergeant with the Missouri
 12    State Highway Patrol?
 13          A    Yes, I am.
 14          Q    And you are the witness that testified in
 15    the guilt phase of this trial; is that correct?
 16          A    Yes, I am, sir.
 17          Q    And Sergeant Folsom, could you tell the jury
 18    how this incident has affected your life.
 19          A    Yes, sir.       I'd like to start out to say that
 20    I bear no ill feelings toward Mr. Weinhaus, his
 21    family or his friends.             I believe in freedom of
 22    speech.      I believe in the Second Amendment.               I
 23    believe in all the amendments.                 I fought for my
 24    country so that everyone would have their rights to
 25    those amendments. There is no better place than
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   1   America for freedom of speech, but one thing people
   2   mistake commonly is freedom of speech is not free.
   3   Every word that comes out of your mouth can hurt
   4   someone, can take something away from someone, can
   5   change someone's life forever, and my life has been
   6   changed forever.         Scott Mertens' life has been
   7   changed forever.         It's not only changed my life but
   8   it's affected my family, his family, our ability for
   9   our children to even go outside and play.
 10           And we'll start off by saying after I arrested
 11    Jeff or tried to arrest him, we all know about the
 12    incident, you made your decision, Jeff's friends on
 13    the Internet on a thing called Copblock.org began
 14    posting all these stories of how I lied and things
 15    about my personal life.             They put my picture up.          If
 16    you Google my name right now, there's a picture of
 17    me shooting Mr. Weinhaus that my family and friends,
 18    that's what they see when they Google my name.                    And
 19    there's been threats, there's been people from that
 20    group come to my job in Troop I and Troop C, they've
 21    been on national radio shows talking about what a
 22    liar I am.       I've been a police officer for 24 years.
 23    I've served my country.             Not in any of that time has
 24    any person ever come forward and said James Folsom
 25    lied.     Not one person has ever filed a complaint
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   1   against me or anything, but these people on the
   2   Internet put all these things on to the point of
   3   where I had to have a camera in my one year old
   4   boy's room to look outside my house because people
   5   were coming by.         Scott Mertens had to have cameras
   6   at his house, and his four boys couldn't even go
   7   outside and play.          You know what it's like to tell
   8   your children they can't go outside and play because
   9   of something you did that was, in your opinion, was
 10    right?     But now my family is punished.              My wife is
 11    four months pregnant.            This stress has been really
 12    bad on my wife, and I'm not ashamed to admit it, my
 13    family life is devastated because of this.
 14           Scott Mertens, he crashed his car the other
 15    night when he left here.              He wrecked his patrol car.
 16    The man is one of the best drivers I've ever seen on
 17    the Highway Patrol.           He left from here and was so
 18    distracted by all this that he crashed his patrol
 19    car the other night.           And this event has been
 20    stressful for all of us.
 21           I will say this:          As far as my employer is
 22    concerned, my employer has turned their backs on me.
 23    I don't have a job anymore because of Mr. Weinhaus
 24    because he decided rather than just put his hands up
 25    in the air and surrender and beat half the charges
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   1   anyway, he was going to draw that gun out of the
   2   holster and gun me down on the same day that his
   3   father died, September 11th before, because his wife
   4   had left him and he was having problems.                  I
   5   appreciate that, I still bear no ill will against
   6   him, but he wanted what happened that day to happen.
   7   I had no control over it.               The only thing I could do
   8   is react to save my life.
   9          Unfortunately in my job I've had other people
 10    try to kill me, and it does have a traumatic effect
 11    on you forever.         I will tell you that after I shot
 12    Mr. Weinhaus, I complained -- my employer made us go
 13    back to work one day after we shot Mr. Weinhaus.                     We
 14    had to go back to work the next day.                 We got to take
 15    one day off and then we were deemed to be fit to
 16    come back to work.          And when I complained that I
 17    needed some more time off, my employer said it would
 18    be at my own expense.            I had a big vacation planned,
 19    which I always do around hunting season, and I said
 20    well, I'll just work a few days and then I'll go on
 21    vacation.       When I came back, my employer was nice
 22    enough to relieve me of my duty and send me to a
 23    doctor because I'd asked for extra time off, and
 24    they said I couldn't work until after this trial was
 25    done.     So this cost me all my sick leave just to
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   1   keep my family fed.           I'm not allowed to go out and
   2   get another job, and I'll be honest with you, my
   3   employer was nice enough to inform me that they're
   4   going to file charges against me if I do come back
   5   to work for insubordination, because I was upset
   6   when my employer didn't arrest Mr. Weinhaus when he
   7   got out of the hospital, because my employer didn't
   8   do their jobs.        My employer, they didn't go and get
   9   his medical records and actually find out what his
 10    status was when it was time for him to get released,
 11    so he got out and was free.                And it upset me, and I
 12    complained about it to my boss, who basically rubbed
 13    me off the map.         Everyone knows here, I don't hide
 14    it, I didn't want to go and arrest him.                  He should
 15    have been able to go to Court and appear when it was
 16    time, but because he called the wrong person on the
 17    Highway Patrol a mother fucker, here I sit with no
 18    job.     When my sick leave runs out, they're not
 19    bringing me back to the Highway Patrol.                  In five or
 20    six months I won't have a job.                 There's been no
 21    investigation.        I've offered to take polygraphs, do
 22    whatever I can do.          I'm eight years from my
 23    retirement.       I'm a disabled veteran.            No one will
 24    hire me.      I suffer from PTSD as well.             No one is
 25    going to hire me in what I do now. So I lost the
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   1   ability to feed my son, my children, because one man
   2   decided he was going to cause a revolution and take
   3   over the United States of America.                And one man had
   4   that power to devastate my life and to devastate the
   5   life of my family and change Scott Mertens' family
   6   forever, one man.          And I would hope that you would
   7   understand my side.           It was never anything personal
   8   to me.     I developed the ruse because I did not want
   9   to send a SWAT team to his house and cause a big
 10    shootout.       I've been called every bad name in the
 11    book here.       His attorney has taken every cheap shot
 12    that he could take against me, talking about me
 13    being paralyzed and a disabled veteran.                  I don't
 14    know how much lower you can go.                But I just want to
 15    explain to you that freedom of speech isn't free,
 16    and whether you hurt someone's feelings or people
 17    die to give you those rights, we all have those
 18    rights, and I hope that you use your rights to
 19    sentence him to whatever you feel is appropriate,
 20    but I will tell you that my family and my kids still
 21    won't be able to play outside.                 Maybe it is crap,
 22    Jeff, but you did this
 23               MR. WEINHAUS:         No, I didn't.
 24               THE WITNESS:        Yes, you did.
 25               JUDGE SUTHERLAND: No back and forth on the
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   1   record.      Go ahead.
   2               THE WITNESS:       Out of respect for the Courts
   3   and your privilege serving as the jury, I thank you
   4   for what you've done, and I've concluded what I had
   5   to say, and God bless you all.
   6               JUDGE SUTHERLAND:           Cross.
   7               MR. EASTWOOD:        No cross examination, sir.
   8               JUDGE SUTHERLAND:           Thank you, you may step
   9   down.
 10                MR. PARKS:      Your Honor, the State will not
 11    be calling Corporal Mertens, he's too distraught to
 12    testify at this time.            State has no further
 13    evidence.
 14                JUDGE SUTHERLAND:           Evidence for the
 15    defendant.
 16                MR. EASTWOOD:        Yes, Your Honor.        I call Judy
 17    Kropf Weinhaus.
 18          (WHEREUPON JUDY KROPF WEINHAUS WAS SWORN IN)
 19              DIRECT EXAMINATION OF JUDY KROPF WEINHAUS
 20    QUESTIONS BY MR. EASTWOOD:
 21          Q     Judy, can you please introduce yourself to
 22    the jury.
 23          A     My name is Judy Kropf, it was Weinhaus at
 24    the time.
 25          Q     And were you married to Jeff Weinhaus?
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   1         A    Yes.
   2         Q    What period of time were you married to
   3   Jeff?
   4         A    Until May of this year.
   5         Q    When did you get married?
   6         A    December 26 of 2007.
   7         Q    Did you live with him together as a family?
   8         A    Yes.
   9         Q    Is he a violent man?
 10          A    No.
 11          Q    Did he -- was he a verbally abusive man?
 12          A    In a roundabout way sometimes.
 13          Q    Toward you or towards people outside the
 14    home?
 15          A    Towards me sometimes in his writings and
 16    papers but most people didn't take him seriously.
 17          Q    What type of father was he to his children?
 18          A    He was good, he was concerned.              He tried to,
 19    his son, when he wasn't living with him, he would
 20    talk to him on a daily basis, and he was a good dad
 21    when he was living with us.                His younger kids were
 22    not as close by and easy to keep in touch with, but
 23    he tried to keep in touch with all his kids.
 24          Q    He had an ex-wife too, didn't he?
 25          A    Yes.
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   1         Q    He paid child support to her?
   2         A    Yes.
   3         Q    After the day of the incident at the gas
   4   station, was Jeff taken to St. John's Mercy
   5   Hospital?
   6         A    Yes.
   7         Q    And how long was he in the hospital?
   8         A    For a month.
   9         Q    I know you're not a doctor, I'm not going to
 10    ask you for medical testimony, but generally
 11    speaking what do you know in laymen's terms of his
 12    injury?
 13          A    He had brain damage, I can't remember the
 14    term, I think it was anorexic brain damage, and it
 15    was because he bled out so heavily and because all
 16    the oxygen was out of his lungs.               What they
 17    explained to me was that he didn't have enough blood
 18    pressure to get the blood and oxygen to his brain,
 19    so he was without oxygen, which caused the brain
 20    damage, which caused memory loss.
 21          Q    And do you know if his physical condition
 22    has changed?        I'm not asking you for medical
 23    opinion, just what you noticed as his wife.
 24          A    We were still together until I filed for
 25    divorce in March of this year, though he was in jail
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   1   obviously, but when I would visit him and I would
   2   tell him things, even serious things and we
   3   mentioned it the next day, he wouldn't remember that
   4   I even said it to him.             So he still has memory loss.
   5         Q    I know obviously you're divorced from him.
   6   Do you still support him?
   7         A    Not financially, no.
   8         Q    But do you support him as a person?
   9         A    Yes, oh, yes.
 10          Q    Do you care about him?
 11          A    Yes.
 12          Q    Despite your differences?
 13          A    Right, that's correct.
 14          Q    Do you think generally that he's a good and
 15    decent man?
 16          A    Yes.
 17          Q    Is what happened at this gas station in
 18    character for Jeff Weinhaus?
 19          A    No.
 20               MR. EASTWOOD:         Thank you very much.
 21               JUDGE SUTHERLAND:            I'm sorry, any cross?
 22               MR. PARKS:       No, Your Honor.
 23               JUDGE SUTHERLAND:            Thank you, you may step
 24    down.     Any additional evidence for the defendant?
 25               MR. EASTWOOD: Your Honor, I have no further
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   1   evidence.
   2              JUDGE SUTHERLAND:            Any rebuttal?
   3              MR. PARKS:       No, Your Honor.
   4              JUDGE SUTHERLAND:            Ladies and gentlemen, I
   5   have a couple more instructions, the last two you'll
   6   see.     There should be 12 there, I think I counted.
   7   Starts with No. 21, the law applicable to this stage
   8   of the trial as stated in these instructions and
   9   instructions numbered one and two that the Court
 10    read to you at the first stage of the trial.                    In
 11    assessing and declaring the defendant's punishment,
 12    you should consider the evidence presented to you in
 13    this case, the argument of counsel and the
 14    instructions of the Court.                You may consider the
 15    evidence presented in either stage of the trial.
 16    You will be provided with forms of verdict for your
 17    convenience.        You cannot return any verdict as a
 18    verdict of the jury unless all 12 jurors agree to
 19    it, but it should be signed by your foreperson
 20    alone.     When you have concluded your deliberations,
 21    you will complete the applicable forms to which you
 22    unanimously agree and return it, it says it but it
 23    should say them, together with all unused forms and
 24    the written instructions of the Court.
 25           Instruction No. 22, the attorneys will now have
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   1   the opportunity of arguing the case to you regarding
   2   the punishment to be imposed.                  Their arguments are
   3   not evidence.        You will bear in mind that it is your
   4   duty to be governed in your deliberations by the
   5   evidence as you remember it, the reasonable
   6   inferences that you believe should be drawn
   7   therefrom, and the law as given in these
   8   instructions.        It is your duty, and yours alone, to
   9   render such verdict under the law and the evidence
 10    concerning the punishment to be imposed as in your
 11    reason and conscience is true and just.                  The State's
 12    attorney must open the argument.                 The defendant's
 13    attorney may then argue the case.                  The State's
 14    attorney may then reply.              No further argument is
 15    permitted by either side.               Argument on behalf of the
 16    State.
 17          (CLOSING ARGUMENT/PUNISHMENT PHASE BY STATE)
 18               MR. PARKS:       Thank you, Your Honor.           Sergeant
 19    Folsom said it better than anyone else could,
 20    freedom is not free.           There is responsibility that
 21    goes along with everyone's actions, and Jeff
 22    Weinhaus has no remorse for his actions.                  Jeff
 23    Weinhaus would come out and do this again if he had
 24    the same situation.           Jeff Weinhaus has no respect
 25    for the law.      Jeff Weinhaus has no respect for
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   1   anyone except himself.             He would have shot those two
   2   officers down in the street if he would have gotten
   3   the chance.       And after he got out, what did Sergeant
   4   Folsom (sic) do, he started harassing him and he had
   5   his friends harass him and his family and Corporal
   6   Mertens' family, all because he has no respect for
   7   the law.      This man does not deserve to be in our
   8   society.      This man needs to be locked up and that's
   9   what you need to consider.                You heard Sergeant
 10    Folsom, you heard what had happened to him.                   If he
 11    would have just complied with the order to get down
 12    on the ground, he would have been facing three
 13    charges, one the Judge has thrown out, and he would
 14    have been facing nothing more than a possession of
 15    Morphine and a misdemeanor marijuana charge, but he
 16    came there armed to the teeth.                 He came with a gun
 17    on his side, he came with a shotgun in the back of
 18    his car and he came with another pistol in the
 19    driver's seat.        He came looking for a fight, and he
 20    found it, and he found it by two trained officers
 21    who defended themselves, and now we must ask you to
 22    protect the rest of us from this man because this
 23    man doesn't care.          You can see him over there
 24    smirking.       You can see what he's thinking right now.
 25    He could care less. I'm asking you not to let him
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   1   out among us again, and we will talk about the
   2   specific punishment that I'm going to ask when I get
   3   back up here and address you again.
   4              JUDGE SUTHERLAND:            Argument on behalf of
   5   defendant.
   6      (CLOSING ARGUMENT/PUNISHMENT PHASE BY DEFENDANT)
   7              MR. EASTWOOD:         Ladies and gentlemen, this
   8   shooting is a tragedy.             It is a tragedy that has
   9   destroyed three families, Sergeant Folsom's,
 10    Corporal Mertens' and Jeff Weinhaus's.                 There are no
 11    winners out of what occurred at the gas station that
 12    day, there are only losers.                You have heard,
 13    however, that Jeff Weinhaus for many years engaged
 14    in extremist political speech but never harmed
 15    anyone.      You've heard that he was a pest and an
 16    annoyance to many in this community with his speech
 17    but that he did not hurt them.                 The violence that
 18    occurred that day was out of character.                  You've
 19    heard from his ex-wife that although they are
 20    divorced, she doesn't have ill will towards him.
 21    She still supports him as a man.                That he was a good
 22    father, he pays his child support to his ex-wife.
 23    You've also heard as a result of this shooting that
 24    he is not the same and has not been the same.                    So,
 25    there are no winners here today, there are only
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   1   losers.      The man you see right there is not the man
   2   who went to the gas station on September 11th, 2012.
   3   He's just not there.           And so you've done your jobs,
   4   you've done the toughest part of your job in some
   5   ways.     I hope you don't hold it against me that I
   6   was advocating for my client just as you don't hold
   7   it against Mr. Parks, that's how the system works,
   8   it's an adversarial system, that's how the system
   9   gets to the truth.          It's not about him, it's not
 10    about him, not about Chris Combs, it's about the
 11    facts and the evidence and your judgment.                  This is a
 12    tough one, folks.          This is a tough one.          This is not
 13    a predator, this is not a man who was a lifetime
 14    threat to the community.              This is about something
 15    terrible that happened at a gas station.                  It wasn't
 16    necessary, it wasn't right but it also does not pose
 17    a current threat to the community, and therefore I'm
 18    asking you for leniency, because extreme punishment
 19    in this instance does not send a message, it doesn't
 20    achieve anything, it doesn't heal anything, it
 21    serves no purpose.          Thank you.
 22               JUDGE SUTHERLAND:            Concluding argument on
 23    behalf of the State.           You have five minutes
 24    remaining.
 25        (CONCLUDING ARGUMENT/PUNISHMENT PHASE BY STATE)
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   1              MR. PARKS:       Thank you.          Ladies and
   2   gentlemen, I'm asking you to sentence the defendant
   3   in Count 1, which is the possession of the Morphine,
   4   to four years in the Department of Corrections.                     I'm
   5   asking you to sentence the defendant on Count 3,
   6   which is the misdemeanor possession of marijuana, to
   7   12 months in a county jail because these are the
   8   normal range of punishments that a first-time
   9   offender would normally get in Franklin County.                     And
 10    for those charges, four years and 12 months is a
 11    reasonable time.         But now we're looking at the
 12    assault of a law enforcement officer, and we're
 13    looking at the armed criminal action, the use of a
 14    weapon against our law enforcement officers.                    They
 15    ask you to mitigate because he was shot, but he
 16    would have shot those officers.                 He would do that
 17    again.     Jeffrey Weinhaus has no remorse for his
 18    actions.      He sits there today smirking at you,
 19    laughing at all of us because he thinks that he is
 20    above the law.        Now I'm not asking for vengeance,
 21    I'm not asking for retribution, I am asking you to
 22    keep this man out of society.                  How do we do that?
 23    We put them in prison.             Ladies and gentlemen, I'm
 24    asking you to sentence the defendant to 30 years in
 25    the Department of Corrections on Count 4, the
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   1   assault of a law enforcement officer.                 I'm asking
   2   you to also give him 30 years for using that gun.
   3   I'm asking you to send a message to everyone.                    I'm
   4   asking you to send a message to his followers who
   5   have harassed these two law enforcement officers
   6   that this is not proper.              And I'm asking you to send
   7   a message to him that all rights have
   8   responsibilities.          All of our constitutional rights
   9   come not as a privilege but as a right with a
 10    corresponding responsibility to use those rights
 11    properly.       And this man did not do that.               This man
 12    is a danger to society and I'm asking you for the
 13    people of Franklin County, for the people of the
 14    State of Missouri, don't put him back among us, put
 15    him in jail, put him in the Department of
 16    Corrections for 30 years on both counts because he
 17    does not need to be among us.                  Thank you.
 18               JUDGE SUTHERLAND:            Ladies and gentlemen,
 19    it's now time for you to retire again, deliberate
 20    and arrive at your verdict.                The sheriff will
 21    deliver to you instructions and verdict forms.                    When
 22    you arrive at your verdicts, notify the sheriff by
 23    knocking on the door.            You will be told when to
 24    return to the jury box.
 25            (WHEREUPON THE JURY EXITED THE COURTROOM)
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   1              JUDGE SUTHERLAND:            We're in recess until we
   2   hear the knock on the door.
   3          (COURT IN RECESS FROM 3:20 PM TO 4:43 PM)
   4              JUDGE SUTHERLAND:            I understand the jury has
   5   arrived at a verdict.            Let's bring them in and find
   6   out.
   7          (WHEREUPON THE JURY ENTERED THE COURTROOM)
   8          (WHEREUPON THE SENTENCING VERDICT WAS READ)
   9              JUDGE SUTHERLAND:            Ms. Sieve, the jury has
 10    reached a verdict as to punishment?
 11               MS. SIEVE:       Yes, sir.
 12               JUDGE SUTHERLAND:            I'll read the verdicts at
 13    this time.       As to Count 1, we the jury having found
 14    the defendant Jeffrey R. Weinhaus guilty of
 15    possessing a controlled substance, assess and
 16    declare the punishment for possessing a controlled
 17    substance an imprisonment for a term of two years,
 18    signed K. Sieve, foreperson.                   Also in the numbered
 19    lines below that they filled in two years on the
 20    line No. 1 imprisonment for a term of two years.                     Is
 21    that the verdict of all of you?
 22                         (ALL YESES WERE HEARD)
 23               JUDGE SUTHERLAND:            As to Count 3, we the
 24    jury having found the defendant Jeffrey R. Weinhaus
 25    guilty of possessing marijuana assess and declare
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   1   the punishment for possessing marijuana an
   2   imprisonment in the county jail for a term of one
   3   year, again signed K. Sieve, foreperson.                  And in
   4   Paragraph 1 below that one is filled in for
   5   imprisonment in the county jail.                  Is that the
   6   verdict of all of you?
   7                        (ALL YESES WERE HEARD)
   8              JUDGE SUTHERLAND:            As to Count 4, we the
   9   jury having found the defendant Jeffrey R. Weinhaus
 10    guilty of assault of a law enforcement officer in
 11    the first degree assess and declare the punishment
 12    for assault of a law enforcement officer in the
 13    first degree an imprisonment for a term of 30 years,
 14    signed K. Sieve, foreperson.                   And 30 years is also
 15    filled in in the imprisonment blank in paragraph No.
 16    2.    Is that the verdict of all of you?
 17                        (ALL YESES WERE HEARD)
 18               JUDGE SUTHERLAND:            Finally as to Count 5, we
 19    the jury having found the defendant Jeffrey R.
 20    Weinhaus guilty of armed criminal action assess and
 21    declare the punishment for armed criminal action an
 22    imprisonment for a term of 30 years, signed K.
 23    Sieve, foreperson.          And the 30 years is filled in in
 24    Paragraph 1 below that as well.                  Is that the verdict
 25    of all of you?
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   1                        (ALL YESES WERE HEARD)
   2              JUDGE SUTHERLAND:            Verdicts, guilty verdicts
   3   and the not guilty verdicts as well as the
   4   punishment verdicts are ordered filed.                 It's
   5   impossible for me on behalf of everybody to thank
   6   you for your time, your effort in sitting on this
   7   case.     It was a very interesting case and a
   8   difficult case.         We certainly appreciate that.
   9   They'll be taken off the jury panel for the rest of
 10    the term, I assume.           I hope the answer is yes.
 11    Yeah, they should be taken off for the rest of the
 12    term and I'll tell you why, because they're not
 13    going to tell you this when they send you out that
 14    questionnaire and cover letter but there's a
 15    Missouri statute that provides that if you serve on
 16    a trial jury, not just come in for the jury to be
 17    selected from but if you actually serve on a trial
 18    jury, you are entitled to be excused from jury
 19    service for the next two years, okay.                 It's not
 20    mandatory if you just love this stuff and you're
 21    having fun and get called again and you want to come
 22    in, that's fine, I don't see a whole lot of takers
 23    there, but it's a random computer selection whenever
 24    they select a new term every few months, it's a
 25    random selection, it doesn't -- the program does not
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   1   permit us to say hey, these people were on a jury,
   2   don't select them.          It's possible that some of you
   3   might be selected again within the next couple of
   4   years.     So if you get another one of those letters
   5   that says you've been selected for jury service, if
   6   it's within two years of today, call the clerk's
   7   office and say hey, I was on a jury in October of
   8   2013, I'd like to be excused.                  It will take me a
   9   minute or two in the courtroom, but I'll come back
 10    in the jury room shortly to answer any questions you
 11    may have and explain why I dismissed those other two
 12    counts.      But with that you are discharged.               I am
 13    going to ask anybody that's in the courtroom, other
 14    than the jury at this time, to remain in the
 15    courtroom, be kept in the courtroom until the jury
 16    has had a chance to clear the courthouse, and that
 17    will be a few minutes.             With that, ladies and
 18    gentlemen, you are discharged.                  We have excuses for
 19    anybody that needs them for work.
 20            (WHEREUPON THE JURY EXITED THE COURTROOM)
 21               JUDGE SUTHERLAND:            Mr. Eastwood, do you want
 22    an additional 10 days for filing a motion for a new
 23    trial?
 24               MR. EASTWOOD:         Yes, Your Honor.
 25               JUDGE SUTHERLAND: The defendant is granted
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   1   an additional 10 days for a total of 25 days to file
   2   a motion for new trial.             We'll set the argument on
   3   the motion for new trial and the sentencing, if the
   4   motion for new trial is not granted, for November
   5   25, 2013 at 9:00 a.m.            As I understand it, looking
   6   at the schedule, we will probably be in Division 7,
   7   the courtroom down at the other end on this floor,
   8   but that's subject to change, so you may want to
   9   check with the clerk's office ahead of time, okay.
 10               MR. EASTWOOD:         Thank you, Your Honor.
 11               JUDGE SUTHERLAND:            Defendant is remanded
 12    into the custody of the sheriff.               We're in recess.
 13               MR. PARKS:       Thank you, Your Honor.
 14                            (TRIAL CONCLUDED)
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   1   State of Missouri
   2                               SS.
   3   County of Franklin
   4          I, Kim Wrocklage, duly commissioned, qualified
   5   and authorized to administer oaths and to certify to
   6   depositions, do hereby certify that pursuant to
   7   agreement in the civil cause now pending and
   8   undetermined in the Circuit Court of Franklin
   9   County, State of Missouri, to be used in the trial
 10    of said cause in said court, I was attended at the
 11    Franklin County Justice Center, 401 E. Main Street,
 12    Union, in the County of Franklin, State of Missouri
 13    on the 10th day of October, 2013.
 14           The said witnesses were sworn to testify the
 15    truth, the whole truth, and nothing but the truth in
 16    the case aforesaid and thereupon testified as is
 17    shown in the foregoing transcript.                Said testimony
 18    was reported by me in shorthand and caused to be
 19    transcribed into typewriting, and the foregoing
 20    pages correctly set forth the testimony of the
 21    aforementioned witnesses, together with the
 22    questions propounded by counsel and remarks and
 23    objections of counsel thereto, and is in all
 24    respects a full, true, correct and complete
 25    transcript.
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   1          I further certify that I am not of counsel or
   2   attorney for either of the parties to said suit, not
   3   related to nor interested in any of the parties or
   4   their attorneys.
   5
   6        _______/s/ Kim Wrocklage, CCR No. 885_______
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